    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 1 of 135




Report of the Consent Decree Monitor
For the New Orleans Police Department Consent Decree
October 2, 2015




Office of the Consent Decree Monitor
New Orleans, Louisiana
Sheppard Mullin Richter & Hampton, LLP
Appointed By Order Of The U.S. District Court For The Eastern District Of Louisiana
Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 2 of 135




                         WHAT’S IN THIS REPORT?
                                    WHAT WE DID THIS QUARTER
                         The Monitoring Team continued to review policies, procedures, and
                          training. We also performed a special, in-depth review of NOPD’s
                          supervision practices and its officer selection practices. We published
                          special reports highlighting our findings in those areas. In addition,
                          among other things, the Monitoring Team conducted assessments of Body
                          Worn Camera usage, uses of force, use of force record keeping, vehicle
                          pursuits, and PIB’s handling of administrative investigations. We also
                          provided technical assistance to the Academy and to the PIB Force
                          Investigations Team.
 Office of the
Consent Decree                                WHAT WE FOUND
                         NOPD rolled out an impressive Crisis Intervention Team (“CIT”)
   Monitor                program, including drafting policies, assigning a dedicated program
                          manager, providing train-the-trainer sessions, and conducting its first
                          training of CIT officers.
                         The Department hired a full time program director to develop, initiate, and
                          roll-out the Consent Decree-required Officer Assistance & Support
                          program.
                         While recent progress has been made at the Academy, the speed of change
                          earlier this year was slow. Even with the recent progress, lesson plans still
October 2, 2015           have not been approved, instructors still have not been evaluated, and a
                          training manual still has not been developed.
                         NOPD’s use of force investigations and record keeping practices have
                          improved in some respects, but more improvement is necessary, especially
                          in the area of administrative investigations of serious uses of force.
                         NOPD has improved its data keeping for vehicle pursuits, but still has
                          room for further improvement.
                         Most police districts have achieved substantial compliance with the
                          Consent Decree Photographic Line-up requirements, but many still are
                          lagging in the area of Custodial Interrogations.
                         The Department’s handling of the investigation, manhunt, arrest, and
                          processing of the alleged killer of Officer Daryle Holloway was
                          professional, ethical, and compliant with the Consent Decree.

                                    NEXT QUARTER’S ACTIVITIES
                         Conduct follow-up audit of PIB’s administrative investigations to assess
                          improvements against the baseline established this quarter.
                         Conduct follow-up audit of BWC use and related discipline.
                         Work with NOPD and the Department of Justice to agree upon objective
                          compliance measurements for each paragraph of the Consent Decree.
                         Continue providing technical assistance to and monitoring progress at the
                          NOPD Academy, including new officer training, in-service training, and
                          the FTO program.
                         Continue reviewing policies, reviewing lesson plans, monitoring training,
                          and personally observing officers in the field.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 3 of 135
Page 3 of 135
October 2, 2015
www.consentdecreemonitor.com




I.     CONSENT DECREE AUTHORITY

“The Monitor shall file with the Court quarterly written, public reports covering the
reporting period that shall include:

       a) A description of the work conducted by the Monitoring Team during the
       reporting period;

       b) A listing of each [Consent Decree] requirement indicating which requirements
       have been: (1) incorporated into implemented policy; (2) the subject of sufficient
       training for all relevant NOPD officers and employees; (3) reviewed or audited by
       the Monitoring Team in determining whether they have been fully implemented in
       actual practice, including the date of the review or audit; and (4) found by the
       Monitoring Team to have been fully implemented in practice;

       c) The methodology and specific findings for each audit or review conducted,
       redacted as necessary for privacy concerns. An unredacted version shall be filed
       under seal with the Court and provided to the Parties. The underlying data for each
       audit or review shall not be publicly available but shall be retained by the
       Monitoring Team and provided to either or both Parties upon request;

       d) For any requirements that were reviewed or audited and found not to have been
       fully implemented in practice, the Monitor’s recommendations regarding necessary
       steps to achieve compliance;

       e) The methodology and specific findings for each outcome assessment conducted;
       and

       f) A projection of the work to be completed during the upcoming reporting period
       and any anticipated challenges or concerns related to implementation of the
       [Consent Decree].”

                                                           Consent Decree Paragraph 457
      Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 4 of 135
Page 4 of 135
October 2, 2015
www.consentdecreemonitor.com



II.     NOTES

       “The Monitor shall be subject to the supervision and orders of the [United States
District Court for the Eastern District of Louisiana], consistent with [the Consent Decree].
The Monitoring Team shall only have the duties, responsibilities, and authority conferred
by [the Consent Decree]. The Monitoring Team shall not, and is not intended to, replace or
assume the role and duties of the City and NOPD, including the Superintendent.”

                                                             Consent Decree Paragraph 455
        Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 5 of 135
Page 5 of 135
October 2, 2015
www.consentdecreemonitor.com




III.            TABLE OF CONTENTS



I.         Consent Decree Authority ........................................................................................................................ 3
II.        Notes ................................................................................................................................................................. 4
III. Table of Contents ......................................................................................................................................... 5
IV. Glossary of Acronyms ................................................................................................................................ 7
V.         Introduction to Quarterly Report .......................................................................................................... 9
VI. Summary of Monitoring Activities ..................................................................................................... 13
VII.          Policies ...................................................................................................................................................... 17
VIII. Use of Force Review ............................................................................................................................. 18
      A. Introduction .............................................................................................................................................18
      B. Reporting Use of Force ........................................................................................................................20
           1.          Requirements ................................................................................................................................ 20
           2.          Officers Compliance with Reporting Requirements ....................................................... 22
           3.          Supervisor’s Investigation of Reported Use of Force ..................................................... 24
           4.          Quality of Force Statement & Use of Force Reports........................................................ 27
      C. Summary of Our Findings on Select Elements of Use of Force Events .............................31
           1.          How events resulting in force were initiated .................................................................... 31
           2.          Outcomes of application of force – Injuries to officer .................................................... 34
           3.          Outcomes of application of force – Injuries to subject .................................................. 35
           4.          Supervisor Responds to the Scene ........................................................................................ 36
           5.          Supervisor Interviews of Subjects of Uses of Force ........................................................ 37
           6.          Supervisor’s Findings ................................................................................................................. 38
      D. Critical Firearms Discharges .............................................................................................................38
      E. Quality of FIT Investigations .............................................................................................................40
           1.          Criminal Investigation ................................................................................................................ 40
           2.          Administrative Investigations ................................................................................................. 41
           3.          FIT Administrative Section Investigation Guide .............................................................. 44
      F.        Force Factor Analysis ...........................................................................................................................45
IX. Vehicle Pursuits......................................................................................................................................... 48
       Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 6 of 135
Page 6 of 135
October 2, 2015
www.consentdecreemonitor.com



X.        Crisis Intervention Team ....................................................................................................................... 50
XI. Policing Free of Gender Bias ................................................................................................................ 54
XII.        Community Engagement (CD 223-233) ....................................................................................... 56
     A. Community Engagement Survey .....................................................................................................56
     B. Availability of Information .................................................................................................................60
     C. Mardi Gras Indians ................................................................................................................................61
XIII.       Community Survey (CD 223-233) .................................................................................................. 63
XIV.        Training (CD 245-288) ....................................................................................................................... 65
XV.         Officer Assistance & Support ............................................................................................................ 68
XVI.        Supervision (CD XV) ............................................................................................................................ 69
     A. Custodial Interrogations .....................................................................................................................69
     B. Photographic Line-Ups ........................................................................................................................69
     C. Body Worn Cameras .............................................................................................................................70
     D. Camera Discipline ..................................................................................................................................70
     E. In-Car Cameras .......................................................................................................................................72
     F.      Supervisor Work Load .........................................................................................................................72
XVII.           Signal code review ........................................................................................................................... 73
XVIII.          Agreement Implementation And Enforcement (Cd 444 – 492) ..................................... 75
     A. Coordination with IPM (CD 459) .....................................................................................................75
     B. NOPD Consent Decree Implementation Unit (CD 467) ...........................................................75
     C. NOPD and City Cooperation (CD 470 – 476) ...............................................................................75
XIX.        Conclusion ............................................................................................................................................... 77
XX.         Appendices .............................................................................................................................................. 79
     Appendix 1 -- Vehicle Pursuit Data .........................................................................................................80
     Appendix 2 Community Survey: Demographic Breakdown Analysis........................................84
     Appendix 3 N.O.P.D. EDUCATION AND TRAINING DIVISION .................................................... 135
      Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 7 of 135
Page 7 of 135
October 2, 2015
www.consentdecreemonitor.com




IV.     GLOSSARY OF ACRONYMS

“ASU”         Administrative Services Unit
“AUSA”        Assistant United States Attorney
“AVL”         Automatic Vehicle Locator
“BWC”         Body Worn Cameras
“CCMS”        Criminal Case Management System
“CD”          Consent Decree
“CIT”         Crisis Intervention Team
“CODIS”       Combined DNA Index System
“ComStat”     Computer Statistics
“CPI”         California Psychological Inventory
“CSC”         Civil Service Commission
“CUC”         Citizens United for Change
“DA”          District Attorney
“DI-1”        Disciplinary Investigation Form
“DOJ”         Department of Justice
“DVU”         Domestic Violence Unit
“ECW”         Electronic Control Weapon
“EWS”         Early Warning System
“FBI”         Federal Bureau of Investigation
“FIT”         Force Investigation Team
“FOB”         Field Operations Bureau
“FTO”         Field Training Officer
“IACP”        International Association of Chiefs of Police
“ICO”         Integrity Control Officers
“IPM”         Independent Police Monitor
“KSA”         Knowledge, Skill and Ability
“LEP”         Limited English Proficiency
“LGBT”        Lesbian, Gay, Bi-sexual, and Transgender
“MMPT”        Minnesota Multiphasic Personality Inventory
“MOU”         Memorandum of Understanding
“NNDDA”       National Narcotics Detection Dog Association
“NOFJC”       New Orleans Family Justice Center
“NOPD”        New Orleans Police Department
“NPCA”        National Police Canine Association
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 8 of 135
Page 8 of 135
October 2, 2015
www.consentdecreemonitor.com



“OCDM”     Office of Consent Decree Monitor
“OIG”      Office of Inspector General
“OPSE”     Office of Public Secondary Employment
“PIB”      Public Integrity Bureau
“POST”     Police Officer Standards Training Counsel
“PsyQ”     Psychological History Questionnaire
“RFP”      Request for Proposal
“SART”     Sexual Assault Response Team
“SOD”      Special Operations Division
“SRC”      Survey Research Center
“SUNO”     Southern University of New Orleans
“SVS”      Special Victims Section
“UNO”      University of New Orleans
“USAO”     United States Attorney’s Office for the Eastern District of New Orleans
“VAW”      Violence Against Women
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 9 of 135
Page 9 of 135
October 2, 2015
www.consentdecreemonitor.com



V.     INTRODUCTION TO QUARTERLY REPORT

       This report marks the end of NOPD’s second year under the Consent Decree, as
measured from the appointment of the Monitoring Team on August 9, 2013. And while
NOPD still has a long road ahead of it, it has made notable progress in several areas,
particularly in the past year. For example:

             NOPD’s policy drafting and vetting process is much improved and, as a result,
              its policies are much improved. Several policies already have been approved
              by the Department of Justice and the Monitoring Team, and several more
              have been submitted and are awaiting approval. While drafting, vetting, and
              revising policies is an inherently slow process, NOPD clearly has made
              significant progress in this area.

             The NOPD Academy has new, competent leadership; lesson plans are being
              developed in an organized fashion; teachers are being trained, video-taped,
              and evaluated; and the Department of Justice (“DOJ”) has come through with
              additional technical assistance (at DOJ’s expense) to help the Academy
              improve several of its courses. To be clear, the Academy still has a long way
              to go to come into full compliance with the Consent Decree, but NOPD’s
              recent progress in this area is nonetheless notable.

             The NOPD Compliance Bureau has proven itself to be extremely effective.
              The Monitoring Team has been working closely with each member of the
              Compliance Bureau and looks forward to working closely with the Bureau’s
              new director, Deputy Chief Tim Averill. At the outset of our monitorship, we
              identified the lack of a Compliance Bureau as one of the key obstacles in front
              of NOPD and its efforts to promote compliance with the Consent Decree. We
              now can say without hesitation the Compliance Bureau is one of the key
              forces of change and reform within the NOPD.

             A Crisis Intervention Team (“CIT”) program has been developed, an energetic
              and skilled leader has been engaged to run it, an impressive train-the-trainer
              session was conducted by outside experts, and training of CIT officers has
              begun. The program is modeled after an extremely effective program that
              has been in place for years in Memphis. On September 17, 2015, 24 men and
              women graduated from the program as NOPD’s first class of specially trained
              CIT officers. The program is one about which NOPD should be quite proud.
              The Monitoring Team is confident the program will make a material
              difference in the lives of mental health “consumers,” police officers, and
              citizens generally.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 10 of 135
Page 10 of 135
October 2, 2015
www.consentdecreemonitor.com



             After a slow start, NOPD now has a full-time Officer Assistance and Support
              (“OA&S”) program manager. Led by a civilian mental health professional,
              Cecile Tebo, the program will fill a huge gap in the support NOPD historically
              has given its officers. While much work still needs to be done in this area to
              develop and roll out the actual programs supporting officers, the
              appointment of Ms. Tebo represents a material step forward.

             The Office of Police Secondary Employment has been up and running for
              some time, and officer resistance to the program has gone way down. While
              we acknowledge some within NOPD (and even some within the business
              community) are not thrilled with having police details now centrally
              coordinated and monitored, the program does seem to be working as
              evidenced by the increasing number of officer participants and customers.

             NOPD continues set a good example for departments across the country in
              the implementation of Body Worn Cameras. And it must be acknowledged,
              NOPD moved forward in this area even though BWCs were not required by
              the Consent Decree. Not only has NOPD outfitted all its patrol officers with
              BWCs, but most officers are using their cameras consistently now, and
              capturing important information. Indeed, the Monitoring Team’s ongoing
              reviews of camera recordings gives us confidence camera use by officers is
              becoming the norm. Implementation of any new technology takes time and
              effort and NOPD has made important progress.

             On the technology front, NOPD recently remedied a significant gap identified
              by the Monitoring Team involving in-car cameras. One of our prior audits
              identified that many in-cameras were not working and/or not recording.
              NOPD subsequently traced the problem to a lack of server capacity and/or
              outdated servers. While this technological went uncorrected for far too long
              in our view, as of August 2015, the City completed the installation of new
              servers throughout the Department, which has greatly reduced the number
              of non-functional cameras in the Department’s cars.

NOPD’s most notable achievement in our view, however, is not technological, but rather
human. Over the course of the last year or so, the Monitoring Team has noticed a palpable
transformation in the attitude of NOPD management toward change, the Consent Decree,
and the work of the Monitoring Team generally. Rather than pushing back at every turn,
most within NOPD with whom we deal seem to have embraced change, reform, and
improvement. NOPD leadership now seems genuinely committed to reform. While we
continue to run into disagreements from time to time, and while we remain not fully
satisfied with the pace of change, we rarely are given cause anymore to question the
Department’s commitment to achieving full and sustained compliance with all elements of
the Consent Decree.
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 11 of 135
Page 11 of 135
October 2, 2015
www.consentdecreemonitor.com



        Of course, NOPD and the Monitoring Team still have much work to do.
Unfortunately, the time spent during the first year of the Consent Decree arguing with
NOPD and the City over the need for a Consent Decree, undoing a dysfunctional policy
drafting process, working without a Compliance Bureau, dealing with non-existent
Academy leadership, and wading through a culture of “well, that’s how we do it here”
delayed change and, thus, NOPD’s accomplishments. And even now, notwithstanding the
significant progress listed above, NOPD continues to lag in some areas, including
supervision, training, and recruit selection. For example:

              As described in our Quarterly Report dated April 28, 2015, several police
               districts continue not to maintain adequate records to demonstrate
               compliance with a variety of Consent Decree requirements, and many
               supervisors continue to lack the time – and some may lack the interest
               and/or the skill –to provide close and effective supervision to their officers.

              As discussed at the public court hearing in February 2015, NOPD’s training
               program still needs a lot of work. The Academy continues to operate without
               approved lesson plans, a meaningful evaluation of its current instructors, and
               a comprehensive strategic plan to remedy known shortcomings. The quality
               of the instruction, the materials, and the curriculum also remains
               inconsistent. While, as noted above, we have seen recent progress in all
               these areas, more work needs to be done, and it needs to be done faster.

              As described in our recent Special Report focusing on NOPD’s hiring process,
               the Monitoring Team has identified multiple shortcomings in the way NOPD
               selects its new officers. In short, we took issue with the Department’s
               multiple-choice exam, its written exam, and its new interview process.
               Specifically with respect to the interview process, while we recognized
               significant improvements, we criticized the City’s unwillingness to allow its
               interviewer’s to ask clarifying questions, follow-up on partial answers, and
               probe the candidate for relevant information. The process’s hyper-rigidity
               prevents the process from helping NOPD identify the best recruits, but rather
               serves more to screen out bad candidates. It is a least common-denominator
               process that poorly serves NOPD’s mission to recruit those individuals most
               likely to personify the professional police force the Department is trying to
               build and New Orleans deserves.1




1      We would be remiss here if we did not mention one impressive improvement to the new officer
       selection process implemented by NOPD with the assistance of the local business community. NOPD
       now involves private sector Human Resource professionals on the recruit interview panels. The
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 12 of 135
Page 12 of 135
October 2, 2015
www.consentdecreemonitor.com



              And as described later in this report, the Department’s use of force record
               keeping and its vehicle pursuit record keeping need further attention.

        One other area where NOPD still has room for improvement is the professionalism
of some of its officers. To be clear, most of the officers and supervisors we come across
(either in person or through watching BWC videos) are professional, helpful, and
committed to the community they serve. But there remains a small subset whose attitude
is unbecoming of a modern police department. We recognize no large organization ever
will rid itself of all unprofessional personnel, but NOPD must continue to work hard to
reduce the impact of those officers upon the Department. As one professional psychologist
recently put it at a meeting with NOPD leadership, “it is high time for the good kids to take
back the school yard.” By refocusing and re-energizing its efforts at recruiting, hiring,
training, and supervision, NOPD can ensure that happens.

        Against this backdrop, this third year is a critical one for NOPD. The Department
needs to focus its energy like never before and accelerate its progress. To help NOPD move
forward, the Monitoring Team is in the process of working closely with the Compliance
Bureau to ensure the Department has clear, objective standards for each of its various
Consent Decree obligations – something that only became possible with the recent change
in the attitude of the Department’s leadership. We are confident NOPD can build upon its
recent achievements, accelerate its progress in other areas, and turn prior failures into
opportunities. This is an exciting time for NOPD and for the citizens of New Orleans.




       Monitoring Team has met with many of these professionals and has been extremely impressed with
       their knowledge, skill, and commitment to the Department. Indeed, the Monitoring Team currently is
       working with several of the professionals to devise ways to remedy the remaining shortcomings of
       NOPD’s selection process.
      Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 13 of 135
Page 13 of 135
October 2, 2015
www.consentdecreemonitor.com



VI.      SUMMARY OF MONITORING ACTIVITIES

       This quarter, like the last, involved a mix of qualitative and quantitative
assessments. Among many other things, our team spent the last quarter performing the
following monitoring activities:

               We continued to work with the Department of Justice and the NOPD to
                review and revise NOPD’s policies to ensure full compliance with the Consent
                Decree and to incorporate best practices.

               We reviewed serious use of force reports, including the contemporaneous
                officer reports, supervisor reports, the subsequent Force Investigations
                Team (“FIT”) investigation file, and relevant video footage. Where we had
                questions or concerns about an investigation, we brought the matter to the
                attention of the NOPD Public Integrity Bureau (“PIB”) and the NOPD
                Compliance Bureau.

               We provided specialized training to the NOPD Use of Force Review Board
                members and FIT to help them move closer to full compliance with the
                requirements of the Consent Decree.

               We reviewed and monitored a number of ongoing PIB investigations.

               We conducted regular district-by-district and unit-by-unit audits of
                compliance with the Consent Decree’s requirements relating to photographic
                lineups, custodial interrogations, supervision, camera use, technology
                functionality, and training. In July, Judge Morgan accompanied the
                Monitoring Team on these audits in several districts to assess NOPD’s
                compliance efforts for herself.

               We attended Sexual Assault Response Team (“SART”) meetings to assess and
                help facilitate the development of comprehensive sexual assault and
                domestic violence policies and procedures.

               We attended disciplinary hearings to evaluate the fairness of the hearing, the
                appropriateness of the discipline, and overall compliance with the Consent
                Decree.

               We gave significant attention to the NOPD Academy, meeting with the new
                Academy commander, the new Curriculum Director, a new Lieutenant
                serving as the Academy’s Training Officer/Coordinator, other Academy staff,
                and several instructors on multiple occasions. We also personally observed
                training at the Academy, as well as outside training conducted by experts in
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 14 of 135
Page 14 of 135
October 2, 2015
www.consentdecreemonitor.com



              various fields, including recently implemented instructor training conducted
              by the FBI. Additionally, the Monitoring Team engaged with VCPI, a
              consulting group made available to the NOPD by the U.S. Department of
              Justice Community Oriented Policing office.

             The Monitoring Team observed NOPD officers and supervisors in the field, in
              all districts and during all shifts. We did this on weekdays and weekends.
              We also personally observed NOPD’s handling of its major events.

             We performed an initial audit of PIB’s administrative investigation processes
              and practices. The results of this initial audit will serve as a baseline for a
              forthcoming follow-up audit. The results of the follow-up audit, along with
              observable trends (either positive or negative) will be published in a
              forthcoming report.

       Further, as we have done since our appointment, the Monitoring Team spent time
meeting with, and listening to, the parties to the Consent Decree. The Monitoring Team is
in regular contact with the City, the NOPD, and the DOJ. We also continue to meet regularly
with the NOPD Compliance Bureau, the PIB, the NOLA OIG, and the members of the
Independent Police Monitor’s team.

        Finally, one other activity is worth special mention here. On Saturday, June 20,
2015, 5th District NOPD officer Daryle Holloway was shot and killed while transporting a
prisoner to the Central Lockup facility. The prisoner, Travis Boys, had been arrested by
officers on the earlier shift for shooting a handgun at a woman in the home they reportedly
shared. While in the back of Officer Holloway’s car, Mr. Boys managed to maneuver his
arms to the front of his body where he then produced a handgun he had kept concealed
from the arresting officers, crawled through the vehicle’s partition, and shot Officer
Holloway, killing him. Officer Holloway had three children, and, by all accounts, was a
model New Orleans police officer.

       The tragic killing of Officer Holloway put a lot of wheels into immediate and
concurrent motion. The police department, supported by several local and federal
agencies, had to notify Officer Holloway’s family, secure the crime scene, find Mr. Boys
(who had escaped on foot), support Officer Holloway’s fellow officers, and ensure the
public had timely and accurate information regarding the shooting, the manhunt, and the
ultimate arrest.

       The killing put wheels into motion for the Monitoring Team as well. From the first
word of Officer Holloway’s killing, the Monitoring Team was on the ground in New Orleans
working to ensure the understandably highly-charged emotions of Officer Holloway’s
colleagues did not result in any inappropriate actions being taken against citizens (or
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 15 of 135
Page 15 of 135
October 2, 2015
www.consentdecreemonitor.com



against Mr. Boys once he was found). We are pleased to report that NOPD comported itself
admirably.

             First, NOPD, led by FIT, quickly secured and maintained the crime scene.

             Second, NOPD worked closely with local, regional, and federal authorities to
              initiate a thorough and well thought-out manhunt for Mr. Boys.

             Third, PIB immediately reviewed (and re-reviewed, frame-by-frame) the
              video recordings of not only the shooting, but the events leading up to the
              shooting, and stayed on full alert throughout the manhunt to ensure NOPD
              followed the law.

             Fourth, the NOPD Office of Assistance & Support quickly engaged a group of
              expert psychologists, peer counselors, and clergy to provide support and
              counseling to the officers of the 5th district.

        The Monitoring Team personally observed each of the foregoing steps – including
accompanying officers involved in the manhunt – and was extremely impressed by the
speed and thoughtfulness of NOPD’s actions. During the “C Shift” roll call the night Officer
Holloway was shot, the Commander of the 5th District gave his officers a speech about the
tragedy and what was to come. Among other things, Commander Goodly emphasized that
the killing was committed by one man, not a city, a community, or a neighborhood. He
cautioned his officers to stay vigilant and fight against the natural tendency to blame others
for the actions of one. He stressed the importance of protecting the community’s rights and
the rights of Mr. Boys once he was captured and arrested. Commander Goodly issued these
warnings professionally, sincerely, and in a manner that got his officers’ attention. It was
an impressive message on a very sad and emotionally-charged day.

       The Monitoring Team also was highly impressed by the professionalism of the
NOPD upon the arrest of Mr. Boys, which occurred around 8 am the next morning.
Immediately following the radio call from the arresting officer that he had Mr. Boys in
custody, a district lieutenant got on the radio and did four things. First, he confirmed that
neither Mr. Boys nor the officer had been injured during the arrest. (Neither had.) Second,
he reminded all officers that their Body Worn Cameras should be on and remain on
throughout the arrest and transportation of Mr. Boys. Third, he ordered a ranking officer
(a sergeant or lieutenant) to accompany the arresting officer during transport. And fourth,
he ordered that Mr. Boys be transported and placed in the custody of PIB FIT immediately.
He followed these directions with a warning along the following lines: “The entire City’s
eyes are on us. Everything will be done by the book.” And from the Monitoring Team’s
vantage point, it was.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 16 of 135
Page 16 of 135
October 2, 2015
www.consentdecreemonitor.com



       From the moment of Mr. Boys’ arrest and transport to FIT, NOPD rank, the NOPD
Compliance Bureau, the Independent Police Monitor, and the PIB detectives leading the
investigation never left his side – and neither did the Monitoring Team. We observed his
treatment from his arrest, through his medical assessment by EMS, his interrogation at FIT,
a hospital visit (ordered by FIT out of an abundance of caution), and his ultimate hand-off
to the Orleans Parish Sherriff. Throughout this time, NOPD acted honorably, professionally,
and in full compliance with the Consent Decree.

        Subsequent to the shooting and arrest of Mr. Boys, the Monitoring Team re-watched
the videos leading up to Mr. Boys’ arrest. Based upon those videos, we provided NOPD
with a list of questions and training recommendations. To its credit, NOPD already had
initiated some of these recommendations on its own. For example, the Department
promptly re-trained all officers in all districts on proper handcuffing procedures. The
Monitoring Team currently is working with the Compliance Bureau to ensure our other
questions are answered and other necessary corrective actions are promptly put into place.

        Corrective actions, of course, cannot bring Officer Holloway back or provide a father
to his three children. NOPD’s willingness to study the events that led to the shooting with
an honest and critical eye, and to learn from, rather than hide from, those tough lessons,
though, undoubtedly will help reduce the risk of a similar tragedy in the future.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 17 of 135
Page 17 of 135
October 2, 2015
www.consentdecreemonitor.com



VII.   POLICIES

       As noted above, NOPD’s policy drafting and vetting process has improved greatly
since the outset of the Consent Decree, and, as a result, its policies are much improved.
Several policies already have been approved by the Department of Justice and the
Monitoring Team, and several more have been submitted and are awaiting approval. While
drafting, vetting, and revising policies is an inherently slow process, NOPD clearly has
made significant progress in this area.

       Last quarter, the Monitoring Team reported on the approval of the following
policies:

             Use of Force
             Use of Force Reporting and Investigation
             Misconduct Complaints/Disciplinary Investigations
             Domestic Violence
             Employee Conduct: Minor Violations/Infraction

More recently, seven additional policies have been added to the list:

             Search & Seizure
             Investigative (Terry) Stops
             Search Warrants
             Handcuffing and Restraints
             Prisoner Transport
             Canines
             FIT/Officer Involved Shootings

       NOPD, the Department of Justice, and the Monitoring Team continue to work well
together, and are moving forward with several critical policies. Among the policies
currently being worked on are: Academy, Immigration Status, Conducted Electrical
Weapons, Adjudication of Misconduct, Disciplinary Matrix/Penalty Schedule, Misconduct
Complaint Investigator Responsibilities, and Sexual Assault. Approval of most, if not all, of
these policies likely will occur in the current quarter.
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 18 of 135
Page 18 of 135
October 2, 2015
www.consentdecreemonitor.com



VIII.   USE OF FORCE REVIEW

        A.       Introduction

        As discussed in earlier monitoring reports, the Consent Decree requires NOPD to
develop and implement force policies, training, and review procedures that ensure force by
NOPD officers is used in accordance with the rights secured and protected by the
Constitution and laws of the United States, and that any unreasonable uses of force is
identified and responded to appropriately. (CD III) In order to manage use of force by its
officers and to enable identification of misconduct or patterns with respect to force, four
elements are necessary.

                First policies and procedures for reporting use of force must be implemented.

                Second, members of the Department must receive competent training on the
                 policy requirements.

                Third, the Department must ensure it knows the full extent of force used by
                 its officers.

                Fourth, the Department has to identify policy violations and abuses of force,
                 and take timely and appropriate corrective action when necessary.

This Quarterly Report provides an assessment of compliance with aspects of those
requirements covering the period October, 2014 through February, 2015. In addition to
assessing practices in place at the time of our reviews, the Monitoring Team will be using
these data as a baseline from which to measure improvement in the ensuing months.2

       Before getting into the details of our findings, however, we should note much effort
has been undertaken by the NOPD since February 2015 on the issues covered by this
Report. Indeed, since NOPD’s appointment of a new FIT commanding officer in July
2015, the Monitoring Team has noted material progress. For example, since July, FIT
has created guides for the criminal and administrative investigators that incorporate the
essential investigative steps required by the Consent Decree. (CD 97c) The Monitoring
Team commends FIT for this recent progress.


2       To help NOPD’s PIB move into full compliance with the Consent Decree, on July 8, 2015, Professor
        (and member of the Monitoring Team) Geoffrey Alpert and Deputy Monitor Dennis Nowicki
        presented a training class to members of the Use of Force Review Board, the Training Academy and
        PIB’s Force Investigations Team. The training focused on managing use of force: reporting,
        investigating and review of use of force by police officers. The training was requested by the Public
        Integrity Bureau.
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 19 of 135
Page 19 of 135
October 2, 2015
www.consentdecreemonitor.com



       The Consent Decree requires NOPD to “develop and implement policy and
procedure manuals for, at a minimum, the following functions: d) Use of Force Reporting,
Investigation, and Review, including both Supervisory and FIT investigations.” (CD 18)
Throughout 2014, the Department functioned under a policy it issued in mid-2013 that was
not approved by the Department of Justice or the Monitoring Team, as required by the
Consent Decree. (CD 21) On March 27, 2015, however, the Department’s policies on Use
of Force, Reporting Use of Force, and Use of Force Review Board were approved.

       Though the officers were guided by a policy not yet approved by the Monitoring
Team and DOJ, the Monitoring Team nonetheless assessed compliance with the
Department’s then-current policy and with the requirements of the Consent Decree,
recognizing, in the absence of an approved policy, our assessment would find certain
practices inconsistent with Consent Decree requirements3. Because use of force reporting,
investigation, and several other Consent Decree requirements were incorporated in the
2014 policies, however, our assessments from that period are nonetheless instructive.

       The Monitoring Team developed a process to ensure our use of force reviews are
comprehensive and consistent, and over several months we gathered data to identify the
strengths and weaknesses of the Department’s use of force practices. The data we gathered
not only provide important insight into the Department’s practices, but they also provide
important benchmarks to facilitate the “outcome assessment” required by the Consent
Decree, and, we hope, to measure improvements over time.

        The Monitoring Team’s use of force review process captures up to 86 data elements
for each use of force event, depending on the number of officers using force or witnessing
the use of force.4 Our process includes an assessment of the requirements of the Consent
Decree, the quality of the investigation into the use of force and whether the force was
justified based on the totality of the circumstances. Once the approved policies are issued
by the Department and officers are trained, our now well-tested methodology will enable
the Monitoring Team to continue giving timely feedback on individual use of force events
and investigations so that, where appropriate, NOPD can take corrective action. It also will
enable the Department and the public to see the tangible benefits derived from
improvements in the policy, training, and supervision mandated by the Consent Decree.



3      For a discussion of the progress of policy development overall see the March 2015 Monitoring
       Team’s Quarterly Report.
4      The range of possible data elements is determined by the number of officers involved in or
       witnessing the use of force. For each involved or witness officer our review captures the officer’s
       name, rank, whether a force statement was submitted, whether the officer used force or witnessed
       the use of force and whether the officer activated her/his body worn camera during the event
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 20 of 135
Page 20 of 135
October 2, 2015
www.consentdecreemonitor.com



      Since our last report of our review of use of force investigation, the Monitoring
Team gained access to NOPD’s Electronic Police Reporting (“EPR”) system, the Body Worn
Camera (“BWC”) video records, and Conducted Electrical Weapons (“CEWs,” more
commonly known as “Tasers”®) videos. These records have enabled us to complete more
comprehensive reviews of each use of force event, identify deficiencies in the investigations
by supervisors, and assess the sufficiency of the various reports required from officers.

       Fundamentally, any use of force analysis is only as good as the available data.
Information that did not make it into the reports, obviously, cannot be considered by the
Monitoring Team. Going forward, with the implementation of an approved policy, and with
ready access to more complete data including CEW, BWC, and in-car camera video footage,
we anticipate being even better able to assess the reasonableness of specific use of force
events in accordance with Constitutional standards and the requirements of the Consent
Decree.

       B.       Reporting Use of Force

                1.     Requirements

       To promote effective reporting, the Consent Decree requires the NOPD to “develop
and implement a uniform reporting system pursuant to a Use of Force Reporting Policy,
using a uniform supervisor Use of Force Report, which will include individual officer Force
Statements.” (CD 76) For reporting and investigative assignment purposes, NOPD uses of
force are divided into four levels:

               Level 1 uses of force include pointing a firearm at a person and hand control
                or escort techniques (e.g., elbow grip, wrist grip, or shoulder grip) applied as
                pressure point compliance techniques or that result in injury or complaint of
                injury.

               Level 2 uses of force include use of an CEW (including where a CEW is fired
                at a person but misses); use of an impact weapon to strike a person but
                where no contact is made; use of a baton for non-striking purposes (e.g.,
                prying limbs, moving or controlling a person); and weaponless defense
                techniques (e.g., elbow strikes, kicks, leg sweeps, and takedowns).

               Level 3 uses of force include any strike to the head (except for a strike with
                an impact weapon); use of impact weapons where contact is made (except to
                the head), regardless of injury; or the destruction of an animal.
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 21 of 135
Page 21 of 135
October 2, 2015
www.consentdecreemonitor.com



              Level 4 uses of force include all serious uses of force, as defined by [the
               Consent Decree], and shall be investigated by NOPD’s Force Investigation
               Team.5

        Each officer who uses a Level 1 force is required to prepare a force statement that
completely and accurately describes the force used and includes: (1) a detailed account of
the incident from the officer’s perspective; (2) the reason for the initial police presence;
(3) a specific description of the acts that led to the use of force; (4) the level of resistance
encountered; and (5) a description of every type of force used. (CD 78) Supervisors also
may require witness officers to prepare a force statement at their discretion, and these
statements must be submitted by the end of the work day. The force statement must be be
reviewed by a supervisor who was neither involved6 nor a witness to the incident. (CD 83)7

       Similarly, each officer who uses or witnesses a Level 2 or Level 3 use of force is
required to prepare a force statement. In such events, a non-involved supervisor is
required to respond to the scene, conduct a thorough investigation into the use of force,
and document her/his investigation in a Use of Force Report8 within 72 hours. (CD 86, 87)

        The Consent Decree requires supervisors’ use of force reports, including officers’
force statements, be maintained centrally by PIB. (CD 81) NOPD has assigned that
responsibility to PIB’s FIT unit. Until recently, the task of receiving, reviewing, and
maintaining the associated files was assigned to a FIT sergeant who also was tasked with
conducting the administrative investigations of serious use of force events, overseeing the
data entry into IAPro (PIB investigations tracking and management system), managing the


5      “Serious use of force” means: (1) all uses of lethal force by an NOPD officer; (2) all critical firearm
       discharges by an NOPD officer; (3) all uses of force by an NOPD officer resulting in serious physical
       injury or requiring hospitalization; (4) all neck holds; (5) all uses of force by an NOPD officer
       resulting in a loss of consciousness; (6) all canine bites; (7) more than two applications of an ECW on
       an individual during a single interaction, regardless of the mode or duration of the application, and
       whether the applications are by the same or different officers, or ECW application for longer than 15
       seconds, whether continuous or consecutive; and (8) any strike, blow, kick, ECW application, or
       similar use of force against a handcuffed subject.
6      For reporting purposes NOPD defines an “involved officer” as an officer who uses force. Officers who
       observe the use of force are considered “witness officers.”
7      Additionally, “Officers’ Force Statements shall completely and accurately describe the force used or
       observed. The use of force reporting policy shall explicitly prohibit the use of conclusory statements
       without supporting detail, including “boilerplate” or “pat” language (e.g., “furtive movement” or
       “fighting stance”) in all statements and reports documenting use of force. Officers shall be subject to
       disciplinary action for material omissions or inaccuracies in their Force Statements.” (CD 79)
8      The Consent Decree defines a “Use of Force Report” as a written report documenting a supervisor’s
       investigation of a use of force as required by this Agreement.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 22 of 135
Page 22 of 135
October 2, 2015
www.consentdecreemonitor.com



Department’s Professional Performance Enhancement Program, including teaching a block
of instruction included in that program, and reviewing officers’ force statements and field
investigators use of force reports. The scope and breath of his assigned duties left little
time for quality control over use of force investigations completed by field supervisors.
Consequently, as our earlier reports revealed, quality control of use of force investigation
was lacking.

       Whenever an officer uses a reportable level of force, the officer must notify a
supervisor. Once notified, the supervisor must contact FIT. Upon notification, FIT assigns a
unique force tracking number (“FTN”) and records sufficient information about the event
to enable tracking of the completion of the required reports. The name of the involved and
witness officers, the incident report number, the name of the subject the force was used
against, and the type and level of force used are recorded on the force log. As shown in
Figure 1 below, there were a total of 413 use of force events recorded by FIT in 2014.

       Figure 1.         Use of Force Events by Unit of Assignment of Involved Officer(s)


                 2014 USE OF FORCE EVENTS BY DISTRICT
                                         Other, 22    1st District, 37
                               SOD, 41
                                                                 2nd District, 25
                                                                         3rd District, 29


                                                                            4th District, 32

      8th District, 87



                                                                         5th District , 46

                    7th District, 44
                                                      6th District, 50



               2.        Officers Compliance with Reporting Requirements

       To verify that officers are complying with the mandated reporting requirements, the
Monitoring Team obtained from NOPD a database of all 2014 police reports wherein an
arrestee was charged with battery of a police officer, assault of a police officer, or resisting
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 23 of 135
Page 23 of 135
October 2, 2015
www.consentdecreemonitor.com



arrest. Such events are likely also to involve the use of force to overcome the resistance or
to defend against the assault or battery. The database we received identified 657 reports of
events occurring in 2014 wherein an offender was charged with one of those offenses.9

        We matched the resulting item numbers to item numbers found in the listing of 413
use of force events logged on the FIT force log. Our comparison found that, of the 657
reports, 170 were associated with a use of force event found on the FIT force log.

       Recognizing that a charge of resisting arrest or assault on a police officer can result
from an event in which no force was used by the arresting officer, the Monitoring Team
considered reviewing each report to determine if, in fact, force was used. Such a review is
labor intensive and time consuming. Consequently, we decided to review only those cases
occurring in the last quarter of 2014, in the months of October, November, and December.
One hundred and forty-one cases occurred in those three months. We obtained and read
copies of all 141 incident reports.

        In many cases, the charge of resisting arrest was associated with behavior such as
fleeing from the officer or providing false identification. There were also several cases in
which the victim of the resisting or assault was a member of another law enforcement
agency, that is, the Louisiana State Patrol or the Orleans Parish Sheriff’s Office. Unless there
also was evidence of physical force used against or by an NOPD officer, we did not expect to
find a force statement and use of force report associated with the event.

        After removing all such events from the list of item reports, we found that 35 of the
141 cases contain evidence that reportable force was used by a member of the New Orleans
Police Department. We alerted NOPD PIB personnel of all 35 cases and asked them to
provide all associated force statements and use of force reports. The Department was able
to locate and provide Force Statements and Use of Force Reports on only 10 of the
identified cases. They were logged under a different item number than the item number
assigned to the report documenting the arrest.10 In three other cases, the subject was
arrested by another law enforcement agency.




9       It is important to note the data underlying this analysis is from 2014. As we currently are in the third
        quarter of 2015, these data may not reflect NOPD’s current state of compliance. The data, however,
        will serve as a critical benchmark from which we will measure progress as NOPD moves forward.
10      The practice of a single event being assigned multiple control numbers (item numbers) has been
        noted in the past and brought to the attention of NOPD. The Department acknowledges the problem
        and is working on remediating it. This practice has a significant adverse impact on supervisors’
        ability to review the work of their subordinates, including reviewing BWC videos associated with use
        of force events.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 24 of 135
Page 24 of 135
October 2, 2015
www.consentdecreemonitor.com



        The Department conducted its own review of the facts associated with those 35
cases and had concluded that no force was used in 8 of the 25 cases for which we or they
were unable to locate associated use of force reports. Those findings are different from
ours and are a consequence of the historically poor reporting practices of some NOPD
officers and of inadequate supervisory review by their sergeants. Those 8 reports were
very short on detail, which should have been caught and remediated at the time by the
approving sergeant.11

        The Department had initiated disciplinary investigations in 14 of the 17 remaining
cases, alleging failure to comply with the use of force reporting requirements. Three of
those cases occurred in the 1st District, 2 in the 4th District, 2 in the 5th District, 1 in the
7th District, and 5 in the 8th District. There were 26 officer and 6 sergeants identified in
those 14 cases. Three officers and 2 sergeants were involved in 2 un-reported use of force
events. As of June 1, 2015, none of the investigations had been completed by PIB – a
troubling finding of our audit.

       As noted above, these data are somewhat outdated, but should nonetheless be
concerning to the NOPD.12 The Monitoring Team currently is in the process of conducting a
similar use of force analysis using 2015 data for which the 2014 findings will serve as an
important benchmark.

                3.       Supervisor’s Investigation of Reported Use of Force

       We selected 178 of the 413 reported use of force events occurring in 2014 to
review. We reviewed the investigating supervisor’s Use of Force Report, all officer Force
Statements in the file, and the Department’s response to the use of force. As pointed out
above, since our fourth quarter 2014 Quarterly Report, we gained access to NOPD’s
Electronic Police Reporting system, the Body Worn Camera video records, and CEW videos.
These records enabled us to complete more comprehensive reviews of each use of force
event and to identify deficiencies in the investigation by the supervisor and the submission
of reports required from the officers. For each review, we captured up to 96 data elements



11      The Monitoring Team’s Special Report on NOPD Supervision, published early this year, reveals that
        the Department still has work to do to bring its supervisory functions into compliance with the
        Consent Decree. More recently, although improvements in some areas have been noted, the
        Monitoring Team continues to find supervisory shortcomings in many of the Districts during our
        monthly district-by-district audits.
12      Of course, the data examined by the Monitoring Team reflected reported uses of force. Obviously,
        unreported uses of force need to be assessed by other means. The Monitoring Team looks for and
        evaluates unreported uses of force by reviewing BWC video recordings and by reviewing certain
        types of charges that often are associated with a use of force, such as a resisting arrest charge.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 25 of 135
Page 25 of 135
October 2, 2015
www.consentdecreemonitor.com



to assist us in assessing the completeness and sufficiency of the investigation, and the
appropriateness of the finding.

        As a reminder, the Consent Decree requires all officers using a Level 1 through 4 use
of force, and officers witnessing a Level 2, Level 3, or Level 4 use of force, to write a Force
Statement before the end of shift. As in our earlier review, not all officers complied with
the requirement that they submit a force statement when they use or witness a use of force.
Table 1 presents the number of incidents where we found force statements from all
involved and identified witness officers. Of the 178 Use of Force files we reviewed, we
identified 40 that did not include the required Force Statements from all involved and
witness officers.

       Table 1.    Frequency of incidents where all involved & witness officers
       submitted required force statements

   Force statement submitted by all officers               N                    %

          Yes                                             138                 77.5%

          No                                              40                  22.5%

                  Total                                   178
As reflected above, a force statement was submitted by all involved and witness officers in
67.4% of these incidents. Thus, in 32.6% of incidents we reviewed in late 2014, a force
statement was not submitted by all involved and witness officers.

        In most use of force events, more than one officer participated either as an involved
officer or a witness. In the 178 cases we reviewed, force was used by 297 officers with 144
officers witnessing the event. Table 2 shows the percent of involved or witness officers
who submitted the required force statement. A force statement was found for a majority
of involved officers (90.6%). However, force statements were found for 76.1% of witness
officers, where required. In other words, about four out of every ten witness officers failed
to provide a force statement.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 26 of 135
Page 26 of 135
October 2, 2015
www.consentdecreemonitor.com



        Table 2.     Cross Tabulations of Force Statement Found and Involved and
        Witness Officers

                              Force Statement Found

                                    Yes                              No             Total

                              N               %                 N           %          N

 Officer                      269             90.6%             28          9.4%       297
 Involved

 Officer                      86              76.1%             27          23.9%      113
 Witness

        Total                 355             86.6%             55          13.4%      410

As reflected above, a force statement was found for a vast majority of involved officers
(90.6%). No force statement was found for 9.4% of involved officers. Force statements
were found for 76.1% of witness officers in Level 2 – 4 use of force events. Accordingly,
more than 2 out of every 10 witness officers did not provide a force statement (23.9%).
Across all involved and witness officers, a force statement was found for 86.6% and was
not found for 13.4%.

       We found that officers who stated they did not observe the actual application of
force were often not required by the investigating supervisor to submit a force statement.
A best practice, however, is to have every officer present when the force was applied
submit a report documenting what he or she saw or heard, even if he or she did not actually
hear or see the force being used. The recently-approved Use of Force reporting policy
contains that requirement.13

      The NOPD has not yet demonstrated compliance with the use of force reporting
requirements required by the Consent Decree, although we remind the reader these
data are from late 2014 and early 2015, and NOPD has been working to enhance its
record-keeping practices since that time.




13      The Use of Force Reporting policy was approved on March 27, 2015.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 27 of 135
Page 27 of 135
October 2, 2015
www.consentdecreemonitor.com



                4.      Quality of Force Statement & Use of Force Reports

       In our review, we considered whether the investigation was sufficient, whether the
supervisor reported that he or she responded to the scene of the incident, whether the
subject was injured, whether the injuries were photographed, whether the incident was
recorded (e.g., by a body worn camera, CEW or in-car camera), and more. We also captured
the demographic information contained in the Use of Force Reports, including gender and
race. We followed-up with NOPD on every Use of Force Report about which our initial
review raised questions and/or concerns.14

        We found the files too often were incomplete and, thus, they did not facilitate
adequate oversight by the Force Investigation Team or by the Monitoring Team. Minimally,
in addition to the supervisor’s Use of Force Report documenting his or her investigation,
the file must contain Force Statements from all officers using force and from all officers
witnessing the event (where requested or required). A complete Use of Force Report file
also should include a copy of the offense report, copies of all associated video recordings, or
pointers to where those files can be located – all evidence required to be collected and
maintained by the Consent Decree. It also should contain copies of hospital treatment
records and photos of injuries to officers and subjects. The reviewing supervisor’s use of
force report should include a statement indicating his findings of whether, based on the
available evidence, the force was justified and within department policy.

        The Monitoring Team found few files complete. In fact, only one file included a
video recording of a witness statement, even though forty-seven of the investigative
reports indicated a recording was available. And none of the files included photos of the
subjects of the use of force. As discussed below, it is a requirement of the Consent Decree
(CD 86d) (and a common police practice) that photos be taken of all subjects who claim
injury, and especially of subjects not injured to preserve evidence that they were not
injured.

        Encouragingly, we found improvement in the quality of the files for events
occurring late in 2014 and early in 2015. We attribute the improvement to the addition
of a second sergeant to the administrative section of FIT. The sergeant has been tasked
with reviewing the completeness and sufficiency of the field supervisors’ investigations of
Level 2 and Level 3 uses of force. Her efforts are producing the desired results. Her
approach is to review the incident report prepared by the involved officers, the force


14      In July 2015, the Monitoring Team and the NOPD Compliance Bureau worked together to develop an
        “immediate action form” that now is used by the Monitoring Team to facilitate and track critical
        issues raised by the Monitoring Team and the responsive actions taken by NOPD. The Immediate
        Action Forms are made available to the Court as well.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 28 of 135
Page 28 of 135
October 2, 2015
www.consentdecreemonitor.com



statements of the involved and witness officers, the field supervisor’s use of force report,
and the associated body worn camera and/or CEW videos. She ensures the files are
complete and that all required investigative steps have been completed. When she finds
deficiencies, she returns the files back to the investigating supervisor with specific
instructions on what further steps are required. A copy of her memo of deficiencies also is
sent to the investigating supervisor’s commanding officer, thus enabling the commander to
ensure a proper investigation is completed and to provide remedial attention to the
supervisor when the supervisors continually has his investigations returned for further
action.

                         a.      Quality of Force Statements

        An officer’s Force Statement must include: (1) a detailed account of the incident
from the officer’s perspective; (2) the reason for the initial police presence; (3) a specific
description of the acts that led to the use of force; (4) the level of resistance encountered;
and (5) a description of every type of force used. (CD 78) Force statements are to
completely and accurately describe the force used or observed. (CD 79) Only 138 of the
178 files contained force statements from every involved or witness15 officer identified in
the incident report and/or the supervisor’s use of force report.

      The Monitoring Team’s review, however, revealed that even when the officer did
submit a force statement, it often was short on details. Deficiencies found included:

               Lack of sufficient descriptions of the presenting behavior that caused the
                subject to come to the attention of the officer.

               Failure to use accurate and specific descriptive language, instead using
                “boilerplate” or “pat” language in documenting investigatory stops,
                detentions, or searches.16




15      For our review, we considered an officer to be a ‘witness’ if she/he was present at the scene when a
        Level 2 through 4 use of force occurred.
16      As noted above, paragraph 79 of the Consent Decree prohibits “the use of conclusory statements
        without supporting detail, including ‘boilerplate’ or ‘pat’ language (e.g., “furtive movement” or
        “fighting stance”) in all statements and reports documenting use of force.”
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 29 of 135
Page 29 of 135
October 2, 2015
www.consentdecreemonitor.com



             Lack of specific descriptions of the actions of the subject that constituted
              resistance, for example, using general descriptors such as:

                 o “was acting aggressively.”

                 o “he refused to comply.”

             Force statements from two or more involved officers that are nearly
              identically worded, thus appearing to not be in each officer’s own words.

             General terms used to describe the type of force the officer used, for example
              “used a takedown to control the subject”

             The description of the force used arises to a reporting level higher than the
              level it was classified as. For example, reviewing a forcible cuffing as
              compliant cuffing when the BWC shows two officers struggling to get the
              subject to submit to cuffing.

                     b.     Quality of Use of Force Reports

        An uninvolved supervisor must investigate all Level 2 & 3 use of force events and
detail her/his findings in a Use of Force Report. As with Force Statements, we found many
deficiencies in the quality of the reports completed by the supervisor. The deficiencies
included:

             Failure to mention viewing BWC video.

             Though the supervisor did review the BWC, he fails to include in his
              narrative whether the video captured the resistance or the officer’s
              application of force.

             Where no BWC video was present because the officer was not assigned one
              because of the nature of his assignment, the report fails to explain.

             Failure to document that he viewed the Taser video.

             Failure to indicate that he checked availability of MVR video.

             Failure to indicate whether he responded to the scene.

             Internal inconsistencies in describing the actions of involved and witness
              officers, for example:
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 30 of 135
Page 30 of 135
October 2, 2015
www.consentdecreemonitor.com



                 o Stating that officer A cuffed the individual at one point in the narrative
                   then that Officer B cuffed the subject later in the narrative.

                 o Identifying the nature of the injuries differently throughout the
                   narrative.

                 o At one point stating that officers and subject fell to the ground and
                   elsewhere stating that a takedown maneuver was applied.

             Little or no information on the injury and treatment the subject received.

             Photos of injuries not included in investigative file.

             If photos were not taken, no explanation as to why.

             Failure to report whether he attempted to interview the subject.

             If interviewed, no indication if interview was recorded, or if not, why not.

             No assessment of the event for tactical or training implications. No
              assessment of whether the officer attempted de-escalation or if such tactics
              were feasible.

             Failure to identify and assess missed opportunities for officers to use verbal
              persuasion or de-escalation techniques before resorting to use of force.

             Failure to reach a finding as to whether or not the use of force was justified
              and consistent with NOPD policy.

       An encouraging finding is that the FIT sergeant tasked since late October with
quality control review over the force investigations conducted by field supervisors is
catching these shortcomings and returning the files back to the field supervisors for
further action. Since early November through the end of 2014, she has returned more
than 30 investigative files for further action. The Monitoring Team has reviewed several of
her memos and found they contained very specific assessments of the investigation and
guidance on what needs to be done to complete the investigation. Examples of her
instructions are:

             Describe what the subject did that was considered resisting.

             If not injured by the officer, describe how the subject received his injuries.

             Were the BWC videos reviewed?
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 31 of 135
Page 31 of 135
October 2, 2015
www.consentdecreemonitor.com



               Ensure that an FIC was completed.

               Include a finding of whether or not the force was justified.

               Investigation requires: interviews of the subject and witnesses, photographs
                of injuries or the lack thereof, if de-escalation techniques were used, the
                reasonableness of the force used, and if the officer acting within NOPD policy,
                state and federal laws.

               There is no force statement from Officer “A”, there is no mention of
                photographs of subject, and most importantly his "aggressive manner" needs
                to be described in detail.

               When an officer is involved in a use of force and they have not been issued a
                body worn camera a canvass of surrounding businesses and residences could
                be beneficial.

        This quality control effort is paying off. We reviewed 14 randomly selected Use
of Force report files of investigations of incidents occurring in 2015 and found the
investigations much improved. We found that all involved and witness officers
submitted force statements, and the investigating sergeant reported conducting the
investigation on the scene in 77% of Level 3 force events. There was only one Level 4
use of force in our sample, a case involving taking a cuffed subject to the ground and
restraining him by placing a leg against his side to keep him against a wall after he kicked
an officer in the chest from his prone position. It was first reported as a Level 3 force, but
upon subsequent review by the FIT sergeant of a BWC video, re-classified as a Level 4. The
video shows the subject on the ground with the officer’s leg against the side of his neck. It
was subsequently investigated by FIT.

        The lack of thoroughness of the supervisors’ investigations as documented in Use of
Force Reports falls short of being useable for the critical intended purposes of managing
use of force by its officers, identifying misuse of force and implementing corrective actions
including discipline and training improvements. But, as noted above, we have seen some
recent progress in filling the gaps identified through our use of force analysis.

       C.       Summary of Our Findings on Select Elements of Use of Force Events

                1.     How events resulting in force were initiated

       A police encounter with a citizen can be initiated for several reasons. The officer can
be assigned by police dispatch to a citizen’s call for the police. Or the officer could be
driving down the street and be flagged by a citizen. An officer can observe a crime in
progress and take action, even when off duty. Or officers may learn of an outstanding
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 32 of 135
Page 32 of 135
October 2, 2015
www.consentdecreemonitor.com



warrant or, themselves, obtain a warrant allowing them to search a home or to arrest
someone.

        Officers also are sometimes assigned to a high crime area and instructed to engage
in “proactive patrol,” stopping people engaging in suspicious activity. Detectives, when
following up on a past crime, often approach individuals known to have committed similar
crimes with similar methods. Depending on the attendant facts, officer actions in such
encounters can range from conducting a voluntary interview of a citizen, wherein the
citizen can refuse to talk to the officer and walk away, to temporarily detaining the citizen
while the officer checks him out, or to arresting the citizen when probable cause exists.

        For the officer to detain the citizen, he must, minimally, have reasonable suspicion
that a person has been, is, or is about to be engaged in the commission of a crime. The
officer must be able to articulate the facts that constituted reasonable suspicion and
include them in his report.

        We looked at how the encounter was initiated in 178 cases from 2014, and, based
upon the information documented in the reports, assessed whether the officer had
reasonable suspicion to detain or arrest the subject. In 6 of the cases, we found no
reasonable suspicion for the officer to stop the subject. Significantly, because the officer’s
report contained few facts, we were unable to determine with certainty that reasonable
suspicion existed in 65 cases. Each of these cases was referred back to the NOPD for further
action.

        The Consent Decree addresses the importance of managing investigative stops,
requiring the Department to have in place a robust stop, search, and detention data
collection and review system. Officers must capture an array of information for every stop,
detention, search, or seizures they undertake and submit the information before the end of
shift so that the officer’s supervisor can review it. Absent exceptional circumstances, field
supervisors are obligated to review investigatory reports within 12 hours of receiving
them. If the review identifies any violations or deficiencies the supervisor is further
obligated to ensure corrective action is initiated, either through counseling and/or
referring the incident for administrative or criminal investigation. (CD 150 & 151)17



17      Ensuring field contacts are documented, as required by the Consent Decree, is beyond the scope of
        this review, but is being reviewed by the Monitoring Team and will be addressed in a forthcoming
        report. Tracking court outcomes, for all arrests and certainly for arrests involving force, is a best
        practice for police departments. Such a practice enables the Department to evaluate officer behavior
        and identify officers who repeatedly stop people without legal justification. Our review did not
        include comparing Force Statements with reports found in the Field Interview database or following
        a case forward to learn the disposition in the courts.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 33 of 135
Page 33 of 135
October 2, 2015
www.consentdecreemonitor.com



        Table 3 presents the frequencies for how each encounter was initiated by whether
there was reasonable suspicion. Forty-one percent (74) of the encounters started out as a
call for service. In 63% (47) of those, the officer’s Force Statement provided sufficient
information to establish reasonable suspicion. Overall, however, incident reports (EPRs),
arrest reports, or force statements in 65 (33.8%) of the 178 cases contained insufficient
documentation to allow us to make a determination that reasonable suspicion was
presented.

      Table 3.      Cross-tabulation of how encounter was initiated by whether the
      officer had reasonable suspicion

                                                    Reasonable suspicion
                                                           Insufficiently
      How was encounter initiated?           Yes     No                     N/A     Total
                                                           Documented
               Dispatched                     47      0         25           2       74
            Flagged by citizen                 9      0          5           0       14
                 On view                      13      1         14           1       29
             Proactive patrol                 24      4          7           0       35
         Follow-up investigation               5      0          5           0       10
             Warrant service                   2      0          0           1        3
                  Other                        0      0          4           0        4
                 Off duty                      2      1          5           1        9
                  Total                      102      6         65           5       178


The following summary bullet points highlight the Monitoring Team’s findings as reflected
in the forgoing table:

             Most encounters were initiated by the officer being dispatched (41.6%). Of
              these incidents, 63.5% (N = 47) involved reasonable suspicion whereas
              reasonable suspicion was not sufficiently documented in 33.8% of these
              incidents.

             Fourteen encounters were initiated by being flagged down by a citizen and it
              was determined that reasonable suspicion existed in 9 of the incidents
              (64.3%). In the remaining 5 there was insufficient information in the reports
              to reach a conclusion.

             With respect to “on view” initiated incidents (N = 29), 44.8% had reasonable
              suspicion sufficiently documented and in 48.3% of the events reasonable
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 34 of 135
Page 34 of 135
October 2, 2015
www.consentdecreemonitor.com



               suspicion was not sufficiently documented in the reports. One “on view”
               initiated incident did not have reasonable suspicion (3.4%).

              35 encounters were initiated on proactive patrol (19.7% of all incidents).
               Reasonable suspicion existed in 68.6% of these incidents. However,
               reasonable suspicion was not documented in 11.4% of the proactive patrol
               initiated use of force encounters.

              Ten incidents occurred as a result of a follow-up investigation and half
               involved reasonable suspicion (not determined in the other half of such
               incidents).

              Three incidents were initiated during a warrant service. Two of these cases
               had reasonable suspicion and one was classified as N/A.

              Nine use of force encounters occurred while the officer was off duty (5.1% of
               all incidents). Of these incidents, it was determined that reasonable suspicion
               existed in two, no reasonable suspicion in one, and one was coded as N/A.
               Reasonable suspicion has not been determined in five of these incidents.

              With respect to the unit of assignment and the six incidents that did not have
               reasonable suspicion, Districts 1 and 8 each had one such incident initiated
               by proactive patrol. Two incidents in the ISB/SGU unit were initiated by
               proactive patrol and did not have reasonable suspicion. District 5 had one
               incident initiated by an off-duty officer that did not involve reasonable
               suspicion. K9 had one incident that was determined not to have reasonable
               suspicion that was initiated by “on view.”

              None of the documents found in the use of force investigation files, that is,
               the incident report (EPR), the Force Statement, or the Use of Force Report
               included sufficient documentation in 65 cases to allow us to determine if the
               officer had reasonable suspicion to stop the subject. Generally that means
               that the report was totally void of any explanation of why the officer decided
               to stop the individual.

               2.     Outcomes of application of force – Injuries to officer

        Most uses of force did not involve injury to the officer. In fact, in 145 of the 178
cases, the reporting officer reported receiving no injury from the use of force.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 35 of 135
Page 35 of 135
October 2, 2015
www.consentdecreemonitor.com



       Table 4.        Frequency and type of officer injuries

            Type of injury                              N                          %
             No injury                                 145                       81.5%
                Fatal                                    0                        0.0%
              Gunshot                                    1                        0.6%
     Hospitalized/non-gunshot                            1                        0.6%
 Treated and released/broken bone                        1                        0.6%
       Treated and released                             28                       15.7%
          Treated by EMT                                 1                        0.6%
        Declined treatment                               1                        0.6%

                   Total                               178

The data reflected above reveal that at least one officer was injured in 18.5% of these
incidents (N =33). Thus, in 81.5% of incidents no officers were injured. Further, within the
incidents where an officer was injured, 84.8% involved the officer being treated and
released (N = 28; 15.7% of the total number of incidents).

              3.       Outcomes of application of force – Injuries to subject

        Our review of the late 2014 data revealed supervisors routinely fail to document the
extent of injury to the subject of the force, and to take photographs of the injuries. As
reflected in Table 5 below, less than half of the arrestees that fell within our review sample
were injured in the course of the arrest. The Consent Decree provides that during the
investigation of a use of force (other than a Level 1 use of force) photographs of the subject
of the force should be taken. (CD 86) NOPD procedures similarly require that the
investigating supervisor shall “ensure that all evidence to establish material facts related to
the use of force, including audio and video records, photographs, and other documentation
of injuries or the absence of injuries is collected.” The files we reviewed, however, show
photographs were infrequently taken following Use of Force events. As reflected in Table 5
photographs of the subject of the force were taken in only 13 of the investigations,
including 3 of arrestees who were not injured.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 36 of 135
Page 36 of 135
October 2, 2015
www.consentdecreemonitor.com



       Table 5.    Cross-tabulation of the number of arrestees injured by whether
       photos were taken of the injury

                                              Arrestee injured
                    Yes            No        Not by PO      Unknown           N/A        Total


                N      %      N         %    N     %       N      %       N       %        N
  Photos
 taken of
  injury

  Yes          10    12.5%     3    3.4%     1   33.3%     0    0.0%      0     0.0%       14
   No          66    82.5%    41   46.1%     2   66.7%     0    0.0%      0     0.0%      109
Unknown         2     2.5%     2    2.2%     0    0.0%     0    0.0%      0     0.0%        4
  N/A           2     2.5%    43   48.3%     0    0.0%     4   100.0%     2    100.0%      51


  Total        80    44.9%    89   50.0%     3    1.7%     4     2.2%     2     1.1%      178



The foregoing data show that a total of 80 arrestees were injured during these use of force
incidents. Of these incidents, only 10 indicated that photos were taken of the injured
arrestee (12.5%). No photos were taken in 82.5% of incidents involving an injured
arrestee. Two injured shown as N/A were force used against an animal, one a snake and
the other a dog.

              4.      Supervisor Responds to the Scene

       The Consent Decree requires a supervisor to respond to the scene of every Level 2,
3, and 4 use of force. Response to the scene of a Level 1 use of force is not required. (CD
84) The recently approved NOPD policy on reporting use of force contains similar
requirements with the exception that it encourages the supervisor to respond to Level 1
events, stating “the supervisor shall, if possible, respond to the scene of the event to
conduct an on-scene review.”

       As Figure 2 shows, and as one would expect, the data reveal a correlation between
the level of force used and a supervisor’s appearance on the scene. As the force level
decreases, a supervisor was less likely to have made an appearance. Indeed, in the context
of a Level 2 use of force, a supervisor arrived on the scene in only slightly more than half of
the cases. In Level 3 events, the on scene presence exceeded 70%. In the more serious use
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 37 of 135
Page 37 of 135
October 2, 2015
www.consentdecreemonitor.com



of force events, Level 4 force, which include force resulting in serious physical injury or
requiring hospitalization, neck holds, force resulting in a loss of consciousness, canine
bites, more than two applications of an CEW on an individual during a single interaction or
CEW application for longer than 15 seconds, and any strike, blow, kick, ECW application, or
similar use of force against a handcuffed subject, the supervisor responded to the scene
nearly 80% of the time. And in those Level 4 cases where the field supervisor was not on
the scene, they either involved force against an animal (shot a snake) or the force level was
elevated after a preliminary investigation by the supervisor. In all use of force events that
were clearly identified as a Level 4 reporting category from the outset, a first line
supervisor responded to the scene and notified FIT.

       Figure 2.              Supervisor Responded to Scene


                             Supervisor Responded to Scene
                                            On Scene   Not On Scene

                   40

                   30

                   20
        ON SCENE




                   10

                   0
                             Level 1         Level 2            Level 3      Level 4
                                              FORCE REPORTING LEVEL



The Use of Force Reports we reviewed suggest NOPD cannot yet demonstrate
compliance with this requirement.

                        5.    Supervisor Interviews of Subjects of Uses of Force

       The Consent Decree requires for all Level 2 and Level 3 uses of force the
investigating supervisor must, among other things, interview the subject for complaints of
pain after advising the subject of his/her rights, and ensure that the subject receives
medical attention from an appropriate medical provider.” (CD 86)

       We found that the investigating sergeant interviewed or attempted to interview the
subject of the force 56.2% of the time. In 34.8% of the time the sergeant reports no
interview or attempt to interview the subject, though she/he was available to be
interviewed. These data suggest NOPD cannot yet demonstrate compliance with this
element of the Consent Decree.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 38 of 135
Page 38 of 135
October 2, 2015
www.consentdecreemonitor.com



              6.      Supervisor’s Findings

       The supervisor must make a preliminary determination of the appropriateness of
the use of force, including whether the force was reasonable and within policy. (CD 87) Of
the 178 Reports we reviewed, 83% clearly indicated the supervisor reached a conclusion
regarding the reasonableness of the Use of Force.

       Use of force was justified according to NOPD in 80.9% (N =144) of incidents. Of
these cases, the OCDM determined that 90.3% (N =130) were reasonable. Thus, 8.3% of
cases that NOPD concluded were justified were determined by the OCDM to be
unreasonable (N =12) (1.4% of these cases the files were significantly incomplete, such that
OCDM was unable to determine reasonableness).

       In three cases NOPD determine that force was not justified (OCDM agreed with each
finding). NOPD’s findings were unknown in 31 (17.4%) incidents. However, within these
cases the OCDM determined that 26 (83.9%) were reasonable and 4 (12.9%) were
unreasonable.

      Finally, the OCDM determined that a majority of force incidents were reasonable
(87.6%; N =156) while 10.7% of incidents were classified as unreasonable (N =19).

       The cases of disagreement were discussed with NOPD for further action.

      NOPD has not yet demonstrated compliance with this Consent Decree
requirement.

       D.     Critical Firearms Discharges

       The preceding analysis deals with lower-level force, including Level 2 and Level 3
uses of force. In such events the involved officer’s chain of command conducts the
investigation and review. The officer’s sergeant, in addition to screening a force incident
and classifying the incident, serves as the primary investigator. For more serious force,
including all critical firearms discharges, the Force Investigation Team (“FIT”) responds to
the scene and conducts the investigation.

       A critical firearm discharge is any discharge of a firearm by an NOPD officer,
including discharges when no person or animal is struck. It does not include range and
training firings, destruction of animals, and off-duty hunting discharges where no person is
struck. Each critical firearms discharge is subjected to two levels of investigation, one
criminal and the other administrative. All critical firearms discharges are investigated by
FIT. Included in the 178 use of force events reviewed are 11 critical firearms discharges.

       Two of the 11 critical firearms discharges resulted in fatalities. In another case the
subject received a non-fatal graze wound to the head. In five of the shootings, no one was
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 39 of 135
Page 39 of 135
October 2, 2015
www.consentdecreemonitor.com



hit. Two of the other cases involved animals. In one of those an officer shot a snake he
found in his back yard, in the other an off-duty officer shot a dog he claimed was attacking
his family. In the last case, an officer negligently discharged a found rifle he was unloading
before submitting it to the NOPD property clerk. The below table represents data on the
eight deadly force events involving human subjects.

       Table 6.        Use of Deadly Force

                             Subject Armed      Subject Not Armed       Total
             Fatal           2                  0                       2
             Non-Fatal       0                  1                       1
             Not Hit         3                  2                       5
             Total           5                  3                       8



        One of the fatal cases is the widely publicized ambush of an officer working a detail
at a fast food restaurant. Though he was ambushed and seriously injured, he returned fire
at his assailants, one of whom later died of his injuries. The other involved an armed
subject who pointed a firearm at a pursuing officer. Weapons were recovered in both
cases. Both investigations were presented to the District Attorney’s Office for review. No
criminal violations were lodged against the involved officers. Additionally, the
Department’s Administrative investigation found no violations of Department rules or
regulations. The Monitoring Team concurs with the finding in both cases.

        In the case in which an unarmed subject received non-life threatening injuries, the
case was not presented to the District Attorney’s Office for review. The FIT criminal
investigation concluded that “based on the evidence collected and witness officer’s
statement” the subject “grabbed [the officer’s] handgun during the struggle. . . .” The
criminal investigator concluded that she “did not find probable cause to charge” the officer
with a criminal offense. Though the investigative file reports that the matter was
presented to the District Attorney’s Office for screening for charges against the arrestee, it
makes no mention of seeking an opinion from the District Attorney’s Office on the conduct
of the officer.

        The administrative investigation found no fault by the officer for the discharge,
though the officer was investigated for failure to wear her body worn camera. The incident
occurred on August 11, 2014; the administrative investigation was completed on April 22,
2015. The administrative investigation concluded that: “There is no evidence to suggest
that [the officer’s] use of deadly force was unreasonable or violated any departmental
policies or procedures”. OCDM found the administrative investigation deficient in several
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 40 of 135
Page 40 of 135
October 2, 2015
www.consentdecreemonitor.com



ways. It did not addresses the poor tactics used by the officer that placed her into a
situation where she ended up struggling with the subject, causing her weapon to discharge
and graze the subject’s head. She approached the subject with her pistol in one hand and
her cuffs in the other. We discuss the poor quality of the administrative investigations later
in this report.18

        E.      Quality of FIT Investigations

       FIT is divided into two units, FIT Criminal and FIT Administrative. Both FIT
Criminal and FIT Administrative respond to the scene of a critical firearms discharge and
conduct independent but parallel investigations, with FIT Criminal initially taking the lead.
The following sections provide our findings on the general quality of the investigations by
NOPD’s Force Investigation Team.

                1.      Criminal Investigation

        The quality and rigor of the investigations by FIT Criminal were found to be
objective, thorough, and fastidious. The investigations were like any homicide investigation
conducted by a competent, experienced homicide investigator. Each investigation began
with a timely response to the scene of the event, securing the scene, isolating the involved
officers and any witness identified at the outset, and collecting the evidence. If not already
obtained before the FIT investigator arrives, the investigator obtained a public safety
statement from the involved officers. The search for physical evidence was thorough.
Witness canvasses were done, not only the day of the incident but in some cases a second
canvass was done a day or more later to locate people who may have been reluctant to
answer their door the day of the incident.

      Group interviews were avoided. Interviews with officer and citizen witnesses were
recorded, as were interviews of the officer who fired his/her weapon. The investigators
avoided asking leading questions. Leads developed through interviews were followed up.

      Body worn camera, conductive energy weapon, and mobile video recording videos
were preserved and reviewed by the investigators. Canvasses for business or residential
cameras that may have captured the incident are routine, and any videos located were
preserved, reviewed and considered in the investigative summary.




18      Since the Monitoring Team brought these concerns to the attention of the NOPD, we are pleased to
        report that members of the Department’s Force Investigations Team and Compliance Bureau have
        been working closely and constructively with the Monitoring Team to develop investigation guides
        and checklists to ensure these gaps are remedied in future investigations.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 41 of 135
Page 41 of 135
October 2, 2015
www.consentdecreemonitor.com



        In cases when the subject was shot, the weapon was secured, inspected for the
number of rounds and subjected to firearms examination and ballistics testing. The
officer’s weapons training records were checked. Hospital records and, in fatal cases,
autopsy reports were collected and reviewed. The shooting scene was thoroughly
photographed and searched with the aim of recovering all ballistic evidence, including shell
casings and bullets.

        The investigators reviewed all evidence, including crime scene, physical, ballistic
and forensic evidence, and witness statements in reaching a conclusion. When there are
conflicts between physical evidence and statements, or between the statements of one
witness with another, the investigative summary addressed and resolved them.

        The thoroughness of the investigations was shown in one case where an officer
alleged the subject was armed with a pistol and pointed it at him. The search conducted in
the immediate aftermath failed to locate any weapon, thus leaving some doubt of the
officer’s report. The location of the event was a large field overgrown with weeds. The FIT
investigator subsequently obtained the assistance of an ATF canine team trained to locate
weapons and conducted a search of the field where the subject was last observed. The
search recovered a pistol fitting the description of the weapon the officer said he observed.

              2.     Administrative Investigations

        Our review found that administrative investigation commenced at the same time as
the criminal investigation, and, generally proceeded on a parallel track to a point. The lead
FIT administrative investigator responded to the scene of the shooting and actively assisted
in the investigations. Generally, the lead FIT criminal investigator controlled the scene and
gave assignments to other FIT investigators, including the lead FIT administrative
investigator. In different incidents and at different times, the FIT administrative
investigator, for example, assisted in preserving the incident scene and gathering evidence,
identifying involved and witness officers, conducting canvasses for witnesses, canvassing
for security system videos, and interviewing the injured or otherwise involved offenders.
Generally, the administrative investigator was fully involved in the investigation from the
outset. At the early stages of the investigation, however, the FIT administrative
investigator refrained from interviewing the officer who used force, leaving that task to the
FIT Criminal Investigator.

        Unlike our findings in criminal investigations, the reports of the Administrative
investigation in these 11 Critical Firearms Discharges, disappointingly, were deficient
in several ways. Though the administrative investigator was fully engaged at the outset of
each investigation and was instrumental in gathering evidence used in reaching a
conclusion in both the criminal and administrative review of the conduct of the involved
officers, the level of assessment of the actions of the involved officers in relation to NOPD
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 42 of 135
Page 42 of 135
October 2, 2015
www.consentdecreemonitor.com



policy, training and approved tactics, as documented in the administrative investigators
report, were almost nonexistent.

       Throughout 2014, we had conversations with FIT’s commanding officer about the
status of the administrative investigations, making it clear that we needed access to the
administrative investigation file as well. We were informed that each administrative
investigation was being attended to and further assured we would be given the file for
review once the administrative investigation and investigative summary reports were
completed. Though we had expectations that the administrative investigation summaries
would be available for review in a timely manner, we learned early in 2015 that only 3
were available.

       When we finally demanded copies of the 8 other administrative investigation files,
in whatever degree of completion they were in, we were informed that they were
maintained by the FIT commanding officer, who had since left the department. FIT staff
were unable to locate any administrative investigation reports for the 8 cases. We finally
received the investigations, all dated between April 22-30, 2015.

       Table 7.        Critical Firearms Discharges -- NOPD Investigations

                                  Criminal           Administrative        Use of       Sent to
                                  Investigation      Investigation         Force        DA for
       Incident    Occurred       Completed          Completed             Finding      Review
               1       5-Jan-14                               27-Apr-15    Justified    No
               2      15-Jan-14        12-Mar-14                3-Apr-14   Justified    No
               3      30-Jan-14         2-Mar-14              22-Apr-15    Justified    No
               4      14-Feb-14        17-Feb-14              22-Apr-15    Accidental   No
               5      15-Feb-14        24-Mar-14              24-Apr-15    Justified    No
               6      16-Feb-14                               14-Oct-14    Justified    Yes
               7     10-May-14           23-Jul-14            24-Apr-15    Justified    Yes
               8     11-Aug-14                                22-Apr-15    Justified    No
               9       6-Sep-14                               17-Oct-14    Justified    No
              10      14-Sep-14                               22-Apr-15    Justified    Yes
              11     21-Dec-14           6-Mar-15             30-Apr-15    Justified    No

       The reports received followed a format, we learned, that was created by the former
commanding officer. After a summary of the evidence, identical to the summary found in
the criminal investigation, each report addressed only the following issues:

             The functionality and state of the Involved Officer’s weapon.

             The P.O.S.T.-mandated firearm qualification status of the Involved Officer.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 43 of 135
Page 43 of 135
October 2, 2015
www.consentdecreemonitor.com



             Causation for the Involved Officer’s use of deadly force.

             A conclusion by the FIT investigator on whether or not the force was justified
              and within policy.

        It was clear that the reports were assembled in haste to meet our demand. In one
case, text from the report of one incident appeared in the report of an unrelated incident, as
if it were cut and pasted. The focus of each report was limited to the above areas of
accountability. There were no discussions of the decisions made by the officer that caused
her or him to be placed into a situation where the use of force was unavoidable. For
example, in the case when the subject received a graze wound to his head, the reported
tactic of the officer who approached the subject with her gun in one hand and her handcuffs
in the other was not thoroughly assessed for compliance with NOPD training or safe
practices. As reported earlier, the investigator incredibly concluded that “there is no
evidence to suggest that [the officer’s] use of deadly force was unreasonable or violated any
departmental policies or procedures.”

        In two of the cases found to be justified by the administrative investigation, OCDM
disagrees with the findings. In one an officer fired one round at a vehicle occupied by three
people. No one was hit and no arrests were made. Based on the officer’s statement, the
threat from the subjects was passed when he fired his weapon. He did not report they
were armed, only that as they hurried to leave the parking lot they swerved toward him.
The vehicle’s right front bumper cover made contact with his right thigh and knocked him
to the ground. At first he reported he was not injured but later decided to go to the hospital
where he was examined and released. At the time he fired at the vehicle, the threat to him
was over. The vehicle sped off and was never seen again.

       In the other incident, an officer was flagged down by a woman who told him a
suspicious person was knocking on doors. The officer located the suspect and attempted to
speak with him. The suspect turned toward the officer and ‘displayed a defensive posture.’
The officer deployed his TASER at the suspect but it had no effect. The suspect began to
advance toward the officer who then drew his firearm and ordered the suspect to the
ground. A scuffle ensued during which the officer struck the male twice in the head with
the gun ‘to create distance.’ The pistol discharged, striking no one. The officer was then
assisted by a citizen and eventually gained control of the suspect. The officer did not report
seeing a weapon nor was any weapon recovered. Based on the facts documented in the
investigation, the officer was not justified in drawing and pointing his weapon.
Furthermore, using a pistol as a striking weapon is an unacceptable tactic, and striking the
subject in the head is prohibited unless deadly force is justified.

       The administrative investigation in the first case resulted in a sustained finding for
multiple rule violations, none related to the firing of the pistol. The officer was charged
with violating secondary employment and timekeeping policies. He resigned before any
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 44 of 135
Page 44 of 135
October 2, 2015
www.consentdecreemonitor.com



discipline could be carried out. In the second case, the administrative investigation found
no rule violations.

        The impact of a critical firearms discharge on the citizen and the officers, whether
involving a fatality, injury or no injury, is not inconsequential. While it may not be possible
to avoid such events completely, much can be learned from conducting a comprehensive
analysis of such events. Identifying each critical decision points within the event and
examining the options that were available to the officer, based on what he knew at the time,
could contribute to improvements in policies, training, and tactics, and thereby enhance
officer safety and reduce harm to citizens. It could result in a prescriptive intervention
with the involved officers to enhance their decision-making and skills.

        The focus of any administrative investigation, whether it be an investigation into a
use of force or into an allegation of misconduct, must not be restricted to identifying policy
or rule violations and discipline; the focus must be broader to include assessment of
current policies, training and equipment.19

       An officer-involved shooting is best analyzed from the point the police officer is
made aware of a need to respond. Each key strategic or tactical decision by the officers
thereafter should be identified and subjected to a thorough review in which alternatives
are considered. The process has to be structured, of course, and the reviews must ensure
they consider only facts discernable before the application of force. We found none of this
kind of review in the investigations of the critical incident we reviewed.

                3.      FIT Administrative Section Investigation Guide

       On July 24, 2015, PIB appointed a new leader of the Force Investigations Team, Lt.
Kevin Burns. The Monitoring Team has been working closely with Lt. Burns since his
appointment and has been impressed by his ideas, his commitment, and his energy. As one
example of his commitment to facilitate compliance with the Consent Decree, on September
3, 2015 (subsequent to this reporting period, but worthy of mention here), Lt. Burns
prepared and submitted a revised FIT Administrative Section Investigation guide. The
guide was designed to facilitate more thorough and compliance FIT administrative
investigations. The Monitoring Team reviewed the guide, provided constructive feedback,
and encouraged Lt. Burns to “test” it by using it to complete an administrative investigation
on a case for which the criminal investigation already was completed previously. . While
we expect the test will identify additional opportunities for improvement, the Monitoring
Team found the current draft well thought-out and well-written and a significant
improvement over prior materials.


19      NOPD’s PIB has indicated full agreement with the Monitoring Team in this regard.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 45 of 135
Page 45 of 135
October 2, 2015
www.consentdecreemonitor.com



       F.     Force Factor Analysis

        As we have explained in earlier reports, it is important to understand police use of
force in the context of suspect resistance. The relationship between the degree of
resistance and the degree of force is an accepted methodology known as the “Force Factor.”
In the current case, The Force Factor relies on official police reports and is used to compare
only the maximum level of force used by the officer to the maximum level of resistance
encountered. Other uses of the Force Factor include exploring the phases or iterations of
an event that involves force. To calculate the Force Factor in our report, we coded each use
of force event (Degree of Resistance 1 – Degree of Resistance 7) and degree of force
(Degree of Force 1 – Degree of Force 7) each scale goes from low to high. A negative value
indicates a higher level of subject resistance as compared to the level of officer force. A
value of 0 indicates proportional force to the level of resistance. Positive values indicate
increasing levels of force being used vis-à-vis the level of subject resistance. Negative
values indicate less force vis-à-vis the level of subject resistance. One expects to see most
uses of force in the -1 to +1 range. In other words, one expects the level of officer force
applied to be equal to or no more than one step beyond the level of subject resistance.
Before we explain our findings, it is important to provide the necessary qualification.

       The Force Factor does not provide an assessment of the reasonableness of the officer’s
decision to use force in any given situation. In other words, the Force Factor does not
explain or justify any use of force. Those issues are determined by The Monitoring Team
based on a review of the totality of the available evidence, including reports, witness
statements, video recordings, and more; not on a statistical analysis. As noted above, this
finding reflects only the official information reported by the police department. Obviously,
police uses of force not reflected in Use of Force Reports are NOT reflected in our data.
Likewise, Use of Force Reports that include inaccurate accounts of the events could skew
the results of our assessment as well.

       The Force Factor is calculated simply as follows:



A negative value indicates a higher level of subject resistance as compared to the level of
officer force. A value of 0 indicates proportional force to the level of resistance. Positive
values indicate increasing levels of force being used vis-à-vis the level of subject resistance.
Negative values indicate less force vis-à-vis the level of subject resistance. One expects to
see most uses of force in the -1 to +1 range. In other words, one expects the level of officer
force applied to be equal to or no more than one step beyond the level of subject resistance.
Our Force Factor assessment gave us the following results.
      Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 46 of 135
Page 46 of 135
October 2, 2015
www.consentdecreemonitor.com



                         Figure 3.    Percent of Use of Force Incidents by Force Factor

                                Percent of Use of Force Incidents by Force Factor
                         35%                                32.6%

                         30%                        29.2%


                         25%
  Percent of Incidents




                         20%
                                                                    15.2%
                         15%

                         10%
                                             6.7%                           6.7%
                                                                                   5.6%
                         5%
                                      2.2%
                               0.6%                                                       0.6%   0.6%
                         0%
                                 -4    -3      -2     -1      0      1       2      3      4      6
                                                            Force Factor


        This figure presents the percent of use of force incidents by the calculated force
factor (i.e., officer force – subject resistance). A majority of incidents have a force factor
between -1 and +1 (77%). Only 9.5% of incidents had a force factor of -2 or lower and
13.5% had a force factor of +2 or higher. In other words, instances of potential
disproportionate force to resistance existed, but did not dominate the data we reviewed.
Importantly, this finding does not provide an assessment of the reasonableness of the
officer’s decision to use force in any given situation. The Monitoring Team based those
assessments upon a review of the totality of the available evidence, including reports,
witness statements, video recordings, and more; not on a statistical analysis.

       Further, as noted above, this finding goes only as far as the data reviewed.
Obviously, police uses of force not reflected in Use of Force Reports are NOT reflected in
our data. Likewise, Use of Force Reports that include inaccurate accounts of the events
could skew the results of our assessment as well.

       While it is not our place to tell NOPD how to analyze and use its evidence and data
on the use of force, as we have been creating a general Force Factor score, we believe NOPD
can take our preliminary figures, expand them, and create Force Factor scores for Districts,
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 47 of 135
Page 47 of 135
October 2, 2015
www.consentdecreemonitor.com



assignments, and even calls for service. Once these scores are created, NOPD can
determine which areas, districts and calls for service are in need of the most attention in
managing use of force in terms of training, supervision, and accountability.
      Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 48 of 135
Page 48 of 135
October 2, 2015
www.consentdecreemonitor.com



IX.      VEHICLE PURSUITS

       Paragraphs 30 and 31 of the Consent Decree deal with Vehicle Pursuits. Among
other things, paragraph 30 prohibits vehicle pursuits

                except where an officer obtains express supervisory approval,
                and the officer and supervisor have considered multiple factors
                and determined that the immediate danger to the public
                created by the pursuit is less than the immediate or potential
                danger to the public should the suspect remain at large.

Paragraph 31, on the other hand, focuses on the tracking and analysis of vehicle pursuits.
Specifically, paragraph 31 requires that NOPD

                track and analyze vehicle pursuits, including the violation that
                prompted the pursuit; the officer(s) involved in the pursuit;
                the supervisor approving the pursuit; the outcome of the
                pursuit; any officer, suspect, or bystander injuries or deaths;
                property damage; and related criminal or civil legal actions.

The Consent Decree further requires that vehicle pursuit data and analysis “be included in
the EWS [Early Warning System] and in NOPD’s Use of Force Annual report.”

       The Monitoring Team reviewed NOPD’s data relating to vehicle pursuits from
January 2014 and February 2015. Our review shows that NOPD has improved its data-
keeping function, but needs further improvement. Specifically, NOPD records each
pursuit as a data element, but does not yet capture the specific reason for the pursuit, and
does not capture whether or not a supervisor approved the pursuit. See Appendix 1. While
there have not been a great number of pursuits, it is important to determine whether or not
the ones conducted are within the NOPD policy. These data can serve as a baseline for
future monitoring.

       Appendix 1, Tables 11 - 16 provide the data underlying the Monitoring Team’s
vehicle pursuit analysis. While the data speak for themselves, here is a summary of some of
the more notable findings:

               21 of the 66 (32%) pursuits that occurred between January 2014 and
                February 2015 were prompted by felony crimes (and hit and runs). The data
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 49 of 135
Page 49 of 135
October 2, 2015
www.consentdecreemonitor.com



                maintained by NOPD, however, do not provide insight into whether the crime
                was a violent felony.20

               27 of the pursuits that occurred during this period were prompted by traffic
                violations or misdemeanors. While one would not expect a vehicle pursuit in
                these circumstances, additional data would help NOPD make that
                determination for itself.

               Roughly 25% of pursuits in 2014 resulted in some degree of property
                damage. In the first 2 months of 2015, at least 40% of pursuits resulted in
                property damage. No charges were filed against any of the officers, or the
                city of New Orleans, for pursuits occurring between January 2014 and
                February 2015.

               About 65% of pursuits in 2014 resulted in the suspect stopping voluntarily.
                About 45% of pursuits in 2014 resulted in the suspect stopping, but then
                fleeing on foot. In January and February of 2015, 50% of pursuits resulted in
                the suspect stopping voluntarily (at least 4 of whom then fled on foot).

               Almost 10% of pursuits in 2014 resulted in either the suspect being involved
                in a collision or the officer’s car being disabled.

               NOPD terminated roughly 12% of pursuits in 2014. NOPD terminated 30%
                of pursuits occurring in January and February 2015. More specificity would
                be helpful here as well. In some cases the data indicate that the pursued
                vehicle stopped, but nothing further. Other cases were more specific—
                indicating what happened after the vehicle stopped (e.g., suspect fled and
                escaped, or suspect fled and was arrested).

        In the future, NOPD should explore the possibility of including, in addition to the
greater specificity of the underlying crime as noted above, the characteristics of the officer
(age, gender, race, shift, squad, experience, etc.) to see if any patterns emerge with respect
to the reasons for initiating the pursuits and the pursuit outcomes.21




20      While NOPD’s Vehicle Pursuit policy authorizes a vehicle pursuit only in the case of a violent felony, it
        is important that NOPD collect data on all vehicle pursuits whether or not within policy.
21      NOPD has created an internal system to capture these data. The system includes a new vehicle
        pursuit form created in consultation with the Monitoring Team, which will be released concurrent
        with the Department’s new vehicle pursuit policy.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 50 of 135
Page 50 of 135
October 2, 2015
www.consentdecreemonitor.com



X.      CRISIS INTERVENTION TEAM

        Section IV of the Consent Decree deals with the establishment of a Crisis
Intervention Team (“CIT”) within the NOPD. According to the National Alliance on Mental
Illness (“NAMI”), a CIT program is a “local initiative designed to improve the way law
enforcement and the community respond to people experiencing mental health crises.”
The Consent Decree requires NOPD to stand up a CIT and implement an effective crisis
intervention structure in order “to minimize the necessity for the use of force against
individuals in crisis due to mental illness or a diagnosed behavioral disorder.”

       In our fourth quarter report for 2014, we found NOPD had made almost no progress
toward complying with its CIT obligations during the reporting period. We noted,
however, “subsequent to this reporting period, the NOPD Consent Decree Implementation
Unit, with the urging of the Monitoring Team, has begun pushing NOPD forward in this
area.” Specifically, we noted “a Crisis Intervention Team Planning Committee has been
formed and plans to meet in January 2015.” OCDM December 2014 Report at 10.

       As noted in our last report, NOPD stood up its CIT Planning Committee and held a
kick-off meeting in early 2015. The meeting was facilitated by Mr. Danny Murphy of
NOPD’s Compliance Bureau, and was attended by NOPD managers, EMS professionals, two
judges, Coroner Jeffrey C. Rouse, M.D., senior management of the Metropolitan Human
Services District, and a number of community health care experts. The Monitoring Team
attended the meeting and was very impressed.

      Subsequently, the Monitoring Team has closely monitored the progress of the
implementation of the CIT program.

       Since our last report, NOPD has held multiple CIT Planning Committee meetings,
developed a CIT policy and a crisis transportation policy, held a “train-the-trainer” session
in May taught by Dr. Randy DuPont (the “father” of the modern CIT program), created a
special email address to make it easier for officers to find out about and become involved in
the program, and, most recently, conducted the first week-long CIT training for volunteer
NOPD officers.

        CIT participants are selected from among the various NOPD districts and platoons.
To help generate interest, NOPD’s Compliance Bureau, its Officer Assistance & Support
Director, and its recently-appointed CIT program manager visited the various police
districts throughout the City to describe the program, its benefits to officers, their families,
and the community, and the process to become involved.

       To become a CIT officer, one must apply and be accepted into the CIT program. Each
interested officer must go through a panel interview developed in accordance with the
“Memphis Model.” Each officer must be in good standing, have a supervisor
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 51 of 135
Page 51 of 135
October 2, 2015
www.consentdecreemonitor.com



recommendation, and undergo a PIB review. CIT participants receive no extra money, but
they do receive a CIT lapel pin, extra training, and, it should not be forgotten, the
opportunity to serve the community and their fellow officers in a way most other officers
cannot. Each CIT officer goes through 40 hours of special CIT training, the first session of
which took place in late August.

       The Monitoring Team reviewed the training conducted in late August and found it to
be well thought-out and smartly implemented. Here is a summary of the training:

             DAY 1. Monday began with an introduction to Crisis Intervention concepts,
              language, and the structure of the program led by the newly-assigned CIT
              program director Sgt. Marc Hedgemon. Following this half hour introduction,
              the newly appointed CIT team member Cecile Tebo taught a segment on the
              signs and symptoms of chronic mental illness. Following a lunch break, the
              students heard from two medical experts who focused on developmental
              disabilities and personality disorders. Finally, Day 1 ended with a legal
              discussion led by Ms. Tebo.

             DAY 2. Tuesday started with a discussion of legal issues and NOPD’s pending
              CIT policy followed by a series of field trips to five community facilities,
              including University Hospital, the Veterans Center, and others.

             DAY 3. Wednesday opened with training on substance abuse and law
              enforcement followed by a discussion of medical issues led by New Orleans
              EMS. The rest of the third day focused on crisis intervention techniques, in
              many ways the core of the CIT training. The techniques were taught by Sgt.
              Hegemon, a long-time police officer and a registered nurse, and are based
              upon the CIT model pioneered by Dr. Dupont and others in Memphis.

             DAY 4. Thursday included several modules focused on specific “consumers”
              of mental health services. The morning began with a presentation by the
              National Alliance of Mental Illness (NAMI) called “In Our Own Voice.” The
              NAMI presentation is designed to “change attitudes, assumptions and
              stereotypes by describing the reality of living with mental illness.” Following
              the NAMI discussion, the instruction moved to educating students about the
              resources available to police officers and consumers with respect to
              homeless assistance, veteran mental health assistance, and special assistance
              for children and adolescents.

             DAY 5. Friday focused on role playing, a critical element of the Memphis
              model of teaching crisis intervention. The students and instructors spent
              most of the day practicing, critiquing, and honing the various crisis
              intervention skills learned throughout the week. The students also had the
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 52 of 135
Page 52 of 135
October 2, 2015
www.consentdecreemonitor.com



                opportunity to watch and discuss a BWC video recording of a recent
                successful NOPD intervention.22 Following the program, a modest
                “graduation” ceremony was held to recognize the students’ accomplishment.

       The Monitoring Team interviewed several CIT candidates prior to the August
training and was impressed by their commitment to – and, frankly, their excitement about
– the program. We then interviewed several additional officers following the training to
gain their perspective of the quality of the training. All felt the training was important,
engaging, and well-presented.23

       So far, 24 officers have taken and passed the new CIT training and now are
designated as CIT officers. Future training sessions are being scheduled for November
2015, the Spring of 2016, and the Fall of 2016. NOPD is on target to have 20% of its
patrol officers CIT trained by August 2016.

        Our one criticism of the CIT program was that the current program manager, Sgt.
Marc Hedgemon, initially had been given substantial new responsibilities, but had not been
relieved of any of his current supervisory responsibilities. Just prior to the publication of
this Quarterly Report, however, this changed. Sergeant Hedgemon now has been detailed
to the CIT program until mid-November to help ensure the CIT program is fully
operational. This is an important and welcomed change. No matter how much energy Sgt.
Hedgemon has – and from our many interactions with him over the past two years, he has
quite a lot – the task likely would have proven to be too much for one, part-time manager.
The CIT program, for now at least, requires a full time manager to deal with the various
training issues, logistics issues, roll out issues, and major reporting, data collection, and
data analysis issues.




22      The Monitoring Team commends NOPD for its use of recent BWC videos in the CIT training. The
        Monitoring Team for some time has been pushing for a similar use of BWC videos at the Academy,
        and is impressed by the CIT’s leadership to do precisely that without our prompting.
23      Representative comments from the CIT officers regarding the recently-conducted training include
        the following: (A) “The class was very helpful and I can see where a lot of these methods, more
        specifically de-escalation, can be used in a variety of ways in regular every day patrolling and service
        calls.” (B) “The training was amazing! Sincerely, thank you for considering me for this class. We need
        more of this type of training. Not only will it improve community relations, but I absolutely believe
        that if we put this practice into use, we will have far fewer use of force incidents. Thank You!” (C) “I
        was very pleased with the training. It shed a light on the severity of the mental illness problem we
        have here.” (D) “One highlight for me was the sharing of the stories from the persons who suffer
        from a mental illness. A personal account of what it is like to live with [a mental illness] gave me a
        better understanding.”
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 53 of 135
Page 53 of 135
October 2, 2015
www.consentdecreemonitor.com



       In short, we continue to be impressed by the work NOPD is doing in this area. The
commitment of those involved, the thoughtfulness of the program’s structure, and the
quality of the materials is obvious. Notwithstanding a slow start, NOPD now is well on its
way toward full compliance with the Consent Decree’s CIT requirements.
      Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 54 of 135
Page 54 of 135
October 2, 2015
www.consentdecreemonitor.com



XI.      POLICING FREE OF GENDER BIAS

        As noted above, on November 12, 2014, the New Orleans Office of Inspector General
released the results of an inquiry into sex crime investigations by five detectives in the
Special Victims Section of the New Orleans Police Department. The OIG Investigations
Division reviewed 90 randomly selected NOPD sex crime related reports, and found, among
other problems, significant concerns with 23 reports from five detectives. The Monitoring
Team has been closely observing the NOPD’s response to the OIG findings since November,
including regularly meeting with the OIG, reviewing the results of NOPD’s re-investigations,
and monitoring PIB’s ongoing investigations of the detective’s implicated in the OIG’s
report.

       In November 2014, as a result of the OIG’s troubling findings, Mayor Landrieu
appointed a Task Force, led by NOPD Commander Paul Noel, to reinvestigate the cases
included in the audit. The Mayor also directed Chief Harrison to make immediate reforms
to ensure the events described in the OIG’s report could never happen again. The Mayor’s
Advisory Committee sought input from survivors, advocates, the DA’s office, and from
within the Department to identify systemic problems and to offer solutions.

      On August 11, 2015, the Mayor held a press conference to report the results of the
work of the Advisory Committee. Among the structural and practical improvements NOPD
has implemented are the following:

               NOPD assigned two new detectives and one new supervisor to the Sex
                Crimes and Child Abuse units, and Chief Harrison committed to doubling the
                size of both units as the Department grows.

               Sex Crimes and Child Abuse detectives no longer may be a part of the
                rotation for special events duty, a change which keeps detectives focused on
                investigations and allows an already short-staffed office more time to do
                investigation work.

               Detectives now have pre-approved authorization to work overtime when
                necessary to conduct adequate investigations, a change that will help ensure
                detectives do not improperly hurry their investigations.

               NOPD has provided detectives with new equipment to assist in their
                investigations of sex crimes, including new vehicles, smart phones, digital
                cameras, and laptops.

               New policies have been drafted and currently are being reviewed by the
                Department of Justice and the Monitoring Team.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 55 of 135
Page 55 of 135
October 2, 2015
www.consentdecreemonitor.com



               The Department has strengthened supervision by requiring regular, detailed
                case review, using an investigative checklist, as well as by conducting a
                qualitative review of taped interviews.

               New training modules have been developed for sexual assault, and detectives
                are now required to receive 32 hours of specialized training, including
                individualized training in interviewing skills.

               All officers in the department, and all new recruits, now will receive four
                hours of training on sexual assault response based on national best practices.

               The Department has hired a third DNA analyst at the State Crime Lab to more
                quickly process rape kits.

               To avoid any future backlogs, the department has tightened its policies on
                sexual assault kits, requiring that DNA request forms be submitted to the
                DNA officer within 24 hours and written reports be provided to explain any
                delays in submission.

The Monitoring Team has confirmed the foregoing corrective actions have been
implemented.24 We are in the process now of evaluating whether those actions are being
implemented effectively and are having the desired outcome.

        In addition to the foregoing enhancements, the Advisory Committee recommended
and the NOPD accepted a number of changes focusing specifically on the survivor of the
sexual assault, including housing the NOPD sex crimes unit in the NOFJC where victims who
meet with detectives immediately can connect with counseling and other victim resources.
Further, (a) the NOPD is currently hiring three social workers to respond with detectives to
assist with victim follow-ups, (b) a representative of victim advocates soon will be involved
in selecting detectives who will be assigned to the sex crimes unit, (c) in order to attract
and retain the best detectives in the SVU, a 5% incentive pay increase will be proposed in
the 2016-2017 budget, and (d) to expedite the clearing of the current backlog, the current
backlog of 180 SAKs will be tested at a private lab.



24      We should add here a word concerning the quality of the policy drafting process that led to the new
        policies referenced above. According to Dr. Tania Tetlow, a member of the Mayor’s Task Force and
        the former director of the Domestic Violence Center at Tulane University, the process by which NOPD
        crafted the new policies was excellent. The Department engaged outside experts and advocates who
        worked hand-in-hand with the Department’s and the City’s own resources. The Department of
        Justice likewise commended the policy drafting process. It was an impressive example of multiple
        stakeholders working together to solve a critical important problem.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 56 of 135
Page 56 of 135
October 2, 2015
www.consentdecreemonitor.com



XII.    COMMUNITY ENGAGEMENT (CD 223-233)

        A.      Community Engagement Survey

       The Consent Decree requires NOPD to support community groups in each District
and to meet regularly with the communities each District serves. (CD 227) The Monitoring
regularly meets with and surveys community- and faith-based organizations to determine
if NOPD is meeting this obligation. Earlier this year, the Monitoring Team distributed an
electronic questionnaire to neighborhood and community leaders and/or administrators
about their relationship and interaction with the NOPD. The questionnaire was distributed
electronically or hand-delivered to 627 neighborhood and civic associations, non-profit
organizations, and faith-based institutions.25 Following the initial distribution of the
questionnaire, each organization was contacted by telephone (where a telephone number
was provided) or in person and asked to participate in the survey. Ultimately, 76
organizations responded to our questionnaire.

        The organizations represented neighborhood and civic associations, community-
based organizations, direct service providers, non-profits institutions and faith-based
institutions with organizational missions as detailed in the table below.


                              Organizational Mission

                                    9%        16%

                                                          15%               Quality of Life
                                                                            Service Provider
                                                                            Faith-Based
                        60%
                                                                            Non-Profit




25      Neighborhood Associations were taken from the City of New Orleans' Office of Community
        Engagement webpage (http://nola.gov/neighborhood-engagement/organizations/).
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 57 of 135
Page 57 of 135
October 2, 2015
www.consentdecreemonitor.com



Of the 76 responding organizations, 60% noted faith-based missions and 16% indicated
quality of life as their organizational charge. Direct service providers accounted for 15% of
the total and other non-profits represent 9%.

       The respondents were asked about the geographic area they serve and the NOPD
District that serves their organization. All eight NOPD Districts were represented in the
survey outcomes as detailed below.


                          Participation By District
                                                              NOPD District
                           4%
                                  8%   11%                    1st
                                                              2nd
                          14%                 13%             3rd
                                                              4th
                          11%                 13%             5th
                                                              6th
                                 17%     9%
                                                              7th
                                                              8th


       Among other things, each respondent was asked about the importance of having a
good relationship between the NOPD and their organization, and each advised that a
relationship with NOPD is important or very important. When asked to describe the
relationship between their organization and the NOPD, responses ranged from very good
to poor as illustrated below, with most indicating they had a “very good” relationship with
the NOPD.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 58 of 135
Page 58 of 135
October 2, 2015
www.consentdecreemonitor.com




                          Relationship with NOPD
                             Very Good     Good   Working   Poor




                                         17%
                                                   39%


                                     33%


                                                  11%


        Most respondents (49%) reported a good or very good relationship with the NOPD.
A third (33%) described their relationship as working (i.e. working relationship, getting
better, could be better, cordial, etc.) and 17% characterized the relationship as poor (i.e.
mistrustful, strained, unapproachable, antagonistic, disrespectful, etc.).

       When asked if they believed the NOPD to be responsive to requests for information
or assistance, respondents overwhelmingly characterized the NOPD as responsive, with
85% advising that the NOPD is responsive or very responsive, 12% advising that the NOPD
is somewhat responsive and only 3% characterizing the NOPD as unresponsive.

        Respondents were asked if representatives of the NOPD participate in their events
and if they participate in events sponsored by the Department with similar results as
illustrated below.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 59 of 135
Page 59 of 135
October 2, 2015
www.consentdecreemonitor.com



                       Participation in Community Events
                            Community Participation in NOPD Events
                            NOPD Participation in Community Events


                                14%
                 No
                            10%


                           8%
           Sometimes
                             11%


                                                                     78%
                 Yes
                                                                     79%



Here again the overwhelming majority of respondents indicated that the NOPD participates
in their events and activities and that they are invited to and participate in events and
activities hosted by the Department at 79% and 78% respectively.

       When asked for recommendations to improve NOPD support of community
organizations and constituents/members, 40% of respondents recommended outreach and
communications (accessibility, better communications, more engagement, come out and
meet the businesses, participate in community, etc.) and 10% specifically recommended
more community policing. Twenty-nine percent of respondents recommended more
patrols and 21% advised that the NOPD does a good or great job and had no
recommendations for improvement.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 60 of 135
Page 60 of 135
October 2, 2015
www.consentdecreemonitor.com




                        What Can NOPD Do Better

                                                              Outreach
                            21%                               Communications
                                           40%                Patrols

                      10%                                     Community Policing

                                                              They Do Enough
                              29%




The results of our questionnaire are generally consistent with our team’s own
observations.

       B.     Availability of Information

       The Consent Decree also required the City and NOPD to make complaint forms and
informational materials, including brochures and posters, available at appropriate
government properties, including, at a minimum, NOPD headquarters, District stations,
NOPD and City websites, City Hall, courthouses within New Orleans, all public libraries, the
IPM, the Orleans Public Defenders, and at the offices or gathering places of community
groups. Our last quarterly report revealed NOPD was not in compliance with these
requirements. We are pleased to report, NOPD took a major step forward this past
quarter.

       Earlier this year, the Monitoring Team conducted unannounced site visits to the
various NOPD Districts, as well as to NOPD Headquarters, the Public Integrity Bureau (PIB),
and City Hall to determine the availability of complaint forms and relevant informational
materials. All NOPD district locations with the exception of the 5th District were able to
provide a written copy of the complaint form. The 5th District provided a pamphlet
describing the complaint process. Complaint forms also were available at PIB and NOPD
Headquarters.

        Relative to accessibility, only the 3rd, 7th, and 8th Districts and Headquarters had
complaint forms in plain sight. As well, the complaint pamphlets at the 5th District were in
plain sight. At all other locations the forms had to be requested from NOPD Personnel, but
were provided when requested.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 61 of 135
Page 61 of 135
October 2, 2015
www.consentdecreemonitor.com



       Of the eight Libraries visited, only two (Broad Street and Napoleon Avenue)
provided complaints forms. Of the government locations, the Independent Police Monitor
(IPM) provided a copy of the complaint form and City Hall provided a copy of the pamphlet.
Complaint forms were not available at Criminal, Juvenile or Traffic Court buildings.

        While NOPD is not yet in full compliance, it has shown great improvement from our
prior assessment. Its progress in the area of posting and maintaining “permanent placards
at all police facilities describing the external complaint process” (CD 386), however, was
less great. Our site visit of all NOPD Districts, as well as NOPD Headquarters, PIB and City
Hall revealed the absence of placards, posters, or information in public view at all locations
except the 2nd District which had signage located behind the counter, but still in citizen
view.

        With respect to its obligation to maintain complaint forms and related information
in English, Spanish, and Vietnamese (CD 387), NOPD remains in non-compliance. Our site
visit to all NOPD Districts, as well as NOPD Headquarters, PIB and City Hall revealed there
were no forms available in Spanish or Vietnamese and no posted information in Spanish or
Vietnamese at any location.

       Finally, the Monitoring Team also assessed the Department’s compliance with
Consent Decree paragraph 427, which required NOPD to make its audit reports related to
implementation of the Consent Decree publicly available via website and at the Police
Department, City Hall, and other public locations. Our unannounced visits to the various
police Districts revealed partial compliance. First, NOPD does post the Consent Decree, its
reports, and the Monitoring Team’s reports on its web site. The Consent Decree likewise is
available in the various police districts as well as Headquarters, PIB, and the IPM’s office.
Copies of the Consent Decree were not evidenced at our visits to the Public Libraries, Civil,
Criminal and Traffic Court, and City Hall. Nor were we able easily to locate hard copies of
NOPD’s audit report in these locations or in the police districts.

       C.     Mardi Gras Indians

       On August 12, 2015, the Monitoring Team attended a special New Orleans City
Council Criminal Justice Committee meeting honoring the Mardi Gras Indians generally,
and the late Big Chief “Tootie” Montana specifically, for their peaceful work with the City to
improve relations among the City, the NOPD, and the various tribes. As is well known
through New Orleans, Chief Montana died at the City Hall podium on June 27, 2005 while
speaking about police relations during the Saint Joseph’s night celebrations. At that time,
the relationship between the police department and the Mardi Gras Indians was a
combative one.

      At the August event, the City honored Chief Montana with a plaque situated on the
podium recognizing his 50 years fighting peacefully for respect and recognition of the
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 62 of 135
Page 62 of 135
October 2, 2015
www.consentdecreemonitor.com



Mardi Gras Indians. The Chief’s family spoke about what a good man he was and how he
taught them respect for others.

       The Police Department was well-represented at the meeting with Chief Harrison,
Chief Bardy, and most District Commanders in attendance. Notably, the Indian
representatives gave current Deputy Chief Bardy much of the credit for repairing the then-
broken relationship between the police department and the Indians, and for his continuing
support of the Indians to this day. Chief Bardy spoke at the event, noting that he did what
he did “because it was the right thing to do.”

       The Monitoring Team monitored the interaction between the NOPD and the Mardi
Gras Indians on St. Joseph’s night this year, and was extremely impressed by the
professionalism, helpfulness, and cultural sensitivity of the officers and supervisors on
patrol. What we viewed first-hand was consistent with the comments we heard at the City
Council event. Deputy Chief Bardy stood side-by-side his officers throughout the evening.
It was a great example of leadership and supervision. We witnessed a number of Mardi
Gras Indians – and passers-by for that matter – approach police officers simply to say
“thank you.” The entire event was impressive and provided a great illustration of the
distance NOPD has come in this area.

       We are hopeful NOPD learns from its success with the Mardi Gras Indians, and
applies that same level of energy, patience, and cultural sensitivity to the other groups with
which it interacts on a daily basis. In his remarks at the event honoring Chief Montana,
Chief Harrison spoke of expanding cultural training at the Academy. The Monitoring Team
wholeheartedly agrees that such training is necessary.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 63 of 135
Page 63 of 135
October 2, 2015
www.consentdecreemonitor.com



XIII.   COMMUNITY SURVEY (CD 223-233)

       Paragraph 230 of the Consent Decree requires the completion of a biennial survey of
members of the New Orleans community “regarding their experiences with and
perceptions of NOPD and of public safety.” To meet this requirement, the Monitoring Team
worked closely with the City, NOPD, and the Department of Justice to develop a three-part
survey that would measure public satisfaction with policing, attitudes among police
personnel, and the quality of police-citizen encounters. The surveys were designed to
include a representative sample of City residents, police personnel, and detained arrestees.
(CD 231)

        The first phase of the survey was conducted in April, 2014 and included more than
400 police department sworn officers and supervisors. The two additional phases of the
Biennial Survey – the Community Survey and the Detainee Survey – were conducted in
December, 2014. The Detainee Survey was conducted in the Orleans Parish Prison by
senior members of the Monitoring Team with the permission and cooperation of the
Orleans Parish Sherriff. The Community Survey was conducted door-to-door by local
residents trained and overseen by the Monitoring Team. Details regarding demographics
of the Community Survey respondents have been reprinted in Appendix 2, Table 1.

      The results of all three phases of the Biennial Survey were reported in the
Appendices of Monitoring Team’s last quarterly report, issued April 28, 2015. This
quarter’s report now breaks down the Community Survey results by respondent
demographics (e.g., gender, race, age).

        Appendix 2, Tables 1.1 through 7.6 present the results of our demographic analysis
of the Community Survey data. An asterisk (* or **) in the right-hand column indicate that
the difference between the comparison groups is statistically significant. For example,
question 1 on Table 1.6 presents the following survey question:

              New Orleans police officers treat members of the African
              American community fairly.

Respondents were asked whether they agreed or disagreed with this statement. A higher
number indicated more agreement than a lower number. As shown in Table 3.6, we
compared the results of white respondents with racial minority respondents. The
comparison shows the average score among whites to be 1.98 versus the average score
among racial minorities to be 2.30. As this difference is statistically significant, the table
shows an asterisk (*) to the right of the results.

       The concept of statistical significance is an important one. Differences in results
that are not statistically significant could be the result of nothing more than chance.
Differences in results that are statistically significant bring with them a high degree of
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 64 of 135
Page 64 of 135
October 2, 2015
www.consentdecreemonitor.com



confidence that the results are meaningful. For example, in Table 1.1 (Appendix 2) female
respondents, on average, were more likely to agree with the statement “I felt the police
officer was trustworthy” compared to male respondents. In other words, females had
higher average scores on this item than males. The statistical significance of this difference
(2.57 compared to 2.76) indicates we can be highly confident (95% confident, to be
technical) that females score higher than males on this question in the overall population.
In contrast, females appear also to be more likely to agree with the statement “I had
confidence the police officer was following the correct police procedure” compared to
males. The mean difference here (2.63 compared to 2.67), however, was not statistically
significant. This suggests the difference simply could have been observed by chance. In the
end, we have more confidence in the mean differences in each of the tables that are
statistically significant.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 65 of 135
Page 65 of 135
October 2, 2015
www.consentdecreemonitor.com



XIV.   TRAINING (CD 245-288)

       NOPD’s efforts to improve its Academy, its instructors, and its training programs
continue to be a primary focus of the Monitoring Team. We are pleased to report NOPD is
making progress in this area. While a future Special Report will be dedicated to the topic of
training, the following bullets summarize the areas in which we have seen recent progress:

             Physical Plant

       On June 23, 2015 NOPD moved its Academy from its prior cramped, run-down home
next to the Third District to larger, newer space on UNO’s campus in northern New Orleans.
The new space provides significant advantages to students and teachers, and is much more
conducive to learning. Chief Harrison as well as Judge Morgan were on hand for the ribbon
cutting ceremony.

             Leadership

       On May 18, Chief Harrison appointed former NOPD police chief Duane Johnson to
serve as Curriculum Director, working closely with Academy Director Commander Richard
Williams. The Monitoring Team now has worked closely with both Mr. Johnson and
Commander Williams for several months and continues to be impressed with their
commitment and energy. Within days of coming on board, for example, Mr. Johnson had
developed an accountability matrix for the Academy. NOPD and the Monitoring Team
continue to use this matrix to track the Academy’s progress.

             Lesson Plans

        As past Quarterly Reports have indicated, the Monitoring Team has been frustrated
for some time over the lack of progress in developing lesson plans. As the fundamental
document that encompasses what will be taught and how it will be taught, lesson plans
should have been in existence long ago. Over the past 3 months, the Monitoring Team
finally is seeing progress in this area. While that progress needs to continue and, indeed,
accelerate, we now are seeing far more progress than we saw before. Currently, as shown
in the table below, 52 of 164 lesson plans have been drafted, reviewed by Academy
management, revised if necessary, and submitted to the NOPD Compliance Bureau for final
review before heading to the Department of Justice and the Monitoring Team.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 66 of 135
Page 66 of 135
October 2, 2015
www.consentdecreemonitor.com



         Table 8.        Lesson Plan Development

                    Total Lesson     Awaiting First       Awaiting         Awaiting        Awaiting Final
                       Plans          Draft From          Academy        Revised Draft     Review From
                                      Instructor           Review       From Instructor     Compliance
                                                                                              Bureau

Recruit                 123                29                0                59                35

In-Service               12                1                 0                 6                 5

FTO                      8                 4                 0                 2                 2

New                      21                9                 0                 2                10
Supervisor

Totals                  164                0                 0                52                10



While this number represents only 32% of all lesson plans that need to be drafted, and
while the speed at which NOPD is moving in this area continues to frustrate the Monitoring
Team, the recent forward movement in contrast to prior stagnation causes us to list this
accomplishment among NOPD’s successes.

                Academy Manual

       While still not complete, the Academy has moved forward with the development of a
comprehensive manual covering all aspects of the Academy, from the hiring and evaluation
of Academy staff, to the development of lesson plans and materials, to the evaluation of the
quality of courses and teachers.

                                            *         *      *

        The foregoing successes, however, must be tempered with sluggishness in other
areas. Notwithstanding NOPD’s efforts, the Academy still is operating without a strategic
plan, a training manual, a full set of lesson plans, or a cohesive hiring plan. Likewise, while
progress has been made in this area, the Academy still has not performed a “gap analysis”
designed to identify areas in need of improvement.26



26       More recently, the NOPD Academy has made progress in each of these areas, including working
         closely with the Monitoring Team to perform a meaningful gap analysis.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 67 of 135
Page 67 of 135
October 2, 2015
www.consentdecreemonitor.com



       The Academy also has failed to make adequate progress in other areas, including
record keeping (CD 245-251),27 supervisor training (CD 314-315), and the Field Training
program (CD 275-282). The Monitoring Team recognizes, however, that the Academy Staff
currently lacks sufficient personnel to come into compliance with all areas of the Consent
Decree at the same time. We feel, against this unfortunate constraint, the Academy has
done a good job prioritizing the many tasks it must tackle.

       At bottom, our primary criticism of NOPD’s efforts is that, while progress is being
made, it is coming too slowly. There are several reasons for this. First, as just noted, the
Academy is not robustly staffed. NOPD management is asking a lot of a small number of
people. Second, as noted above, the Academy still does not have a strategic plan, or even a
training manual to help guide its reformation. Third, the hiring of new personnel takes far
too long. This obstacle – which, in all fairness, seems to be more properly laid at the feet of
the Civil Service Department than the NOPD – has plagued not only the Academy, but other
functions within NOPD as well. NOPD and the City must work to breakdown each of these
inhibitors to progress.




27      NOPD soon will be implementing a new software program called PowerDMS, which, once fully rolled
        out, should help alleviate most of the Academy’s record keeping problems.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 68 of 135
Page 68 of 135
October 2, 2015
www.consentdecreemonitor.com



XV.    OFFICER ASSISTANCE & SUPPORT

        Section XIII of the Consent Decree requires that NOPD “provide officers and
employees ready access to the mental health and support resources necessary to facilitate
effective and constitutional policing.” NOPD also must “develop and offer a centralized and
comprehensive range of mental health services that comports with best practices and
current professional standards, which include: readily accessible confidential counseling
services with both direct and indirect referrals; critical incident debriefings and crisis
counseling; peer counseling; and stress management training. (CD 289) After months of
inactivity, in May 2015, NOPD finally took a positive step forward in instituting an Officer
Assistance & Support Program. Specifically, on May 22, 2015, NOPD announced the
appointment of a full-time civilian Director of Officer Assistance Program, Cecile Tebo, a
licensed clinical social worker who previously helped the Department create its first crisis
transportation unit.

      The notice announcing the appointment of Ms. Tebo explained that she will “develop
and implement a comprehensive, confidential counseling program for officers, civilian
members and their families.” The notice went on to explain:

              The program has been designed to promote mental health
              wellness for all employees and their families with direct
              intervention and immediate availability. The program will offer
              individual, couple and family counseling services, along with
              outside referrals, if the need arises.

              The NOPD created this outreach effort to ensure all employees
              have access to confidential mental health services. Deputy
              Chiefs, Commanders and all supervisors should apprise their
              officers and support staff of this vital program and encourage
              them to use it when appropriate.

The new office is housed at NOPD Headquarters and, even though it is not fully staffed yet,
already has begun providing support to officers. In fact, on the evening of the tragic death
of Officer Daryl Holloway, Ms. Tebo was instrumental in making available professional,
faith, and peer support resources for NOPD officers impacted by the tragic loss of a
colleague.

       While the Monitoring Team finds NOPD not yet compliant with its obligation to
“develop and offer a centralized and comprehensive range of mental health services,” and
remains concerned with the speed of the roll-out of the full breadth of Officer Assistance &
Support resources required by the Consent Decree, we recognize the appointment of Ms.
Tebo as an important and meaningful step forward.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 69 of 135
Page 69 of 135
October 2, 2015
www.consentdecreemonitor.com



XVI.    SUPERVISION (CD XV)

       The Monitoring Team issued a Special Report focusing on supervision on July 21,
2015. Prior to that, Judge Morgan held a public hearing focusing on the Monitoring Team’s
findings regarding the Department’s non-compliance with many of the Consent Decree
requirements relating to supervision. The Monitoring Team continues to spend significant
time focusing on this area and plans to issue a follow-up Special Report in the near future
to assess the many corrective actions promised by the Department. In the meantime,
however, NOPD has shown some recent progress in the following areas.

        A.      Custodial Interrogations

       As we have for most every quarter since the outset of the monitorship, the
Monitoring Team continues to conduct monthly detailed audits of each district’s
compliance with the Custodial Interrogation requirements of the Consent Decree.
Unfortunately, NOPD continues to struggle to achieve substantial compliance in this
area. Much of this struggle has been due to the absence of a good interrogation room
camera system. In response to the Monitoring Team’s identification of multiple non-
functioning cameras, the Department began using BWCs to record custodial interrogations.
While we applaud NOPD for its creativity in devising a short-term solution to the problem,
the solution has not been complete. The Monitoring Team’s most recent audit continued to
find most districts making multiple errors even with functioning BWCs, including not
properly logging BWC recordings correctly, not being able to retrieve recordings when
asked, misplacement of the camera in the interrogation rooms, and placing items in front of
the camera that affect the video and audio.

       While most districts continue to be in non-compliance with the Custodial
Interrogation requirements of the Consent Decree, we are pleased to report that District 6
has attained substantial compliance with nearly all Consent Decree paragraphs in this area.
The Sixth District demonstrated that even with a less-than-desirable camera system, NOPD
can achieve compliance simply by paying attention to the details.28

        B.      Photographic Line-Ups

       As with Custodial Interrogations, the Monitoring Team continues to audit NOPD’s
compliance with its Photographic Line-Up obligations every month. While NOPD continued
to be out of compliance in this area prior to May 2015, in July 2015 Judge Morgan joined



28      NOPD’s Sixth District also made considerable progress in other areas of the Consent Decree relating
        to supervision. The Monitoring Team has recommended that the Department use the Sixth District
        as a model to help the other districts improve their compliance levels.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 70 of 135
Page 70 of 135
October 2, 2015
www.consentdecreemonitor.com



the Monitoring Team on its monthly district-by-district audit. The Judge’s visit apparently
was the impetus the District needed. Consequently, since May 2015, nearly every police
district has made significant progress in this area. Indeed, as of July 2015, nearly every
district and unit had reached substantial compliance. And some units are at 100%
compliance.

       C.     Body Worn Cameras

       Since a supervisor cannot be everywhere at once, the availability of BWC recordings
is quickly becoming a critical element of full and effective supervision. Not only do these
recordings give supervisors (and the Monitoring Team) timely visibility into police/citizen
interactions throughout New Orleans, but they provide a more accurate picture of those
interactions in that the actions of the officers have not been colored by the proximity of a
supervisor (or a Monitor) looking over the officer’s shoulder watching his/her every move.

        As noted elsewhere in this report, and in our prior reports, NOPD deserves
significant credit for embracing BWCs and rolling them out to patrol officers even though
the requirement is not included in the Consent Decree. As of August 2015, all regular
patrol officers in all districts have been issued BWCs. This is a significant – and costly –
accomplishment.

        The Monitoring Team’s one remaining criticism of the roll out of the BWCs relates to
those officers who have not yet been given the cameras. Currently, sergeants, for example,
are not issued BWCs. While we acknowledge the high cost of cameras, and agree with the
Department’s prioritization of camera deployments (i.e., platoon officers first), we hope the
City finds funds to outfit sergeants with cameras soon. It is a common occurrence to have
sergeants answering calls for service alongside – or even instead of – patrol officers. In that
context, BWCs should be issued to sergeants.

        Interestingly, while many officers resisted the issuance of BWCs initially, the
attitude toward the cameras has notably shifted. The Monitoring Team now is far more
likely to hear a sergeant complaining that he or she wants a camera than an officer
complaining about having to wear one.

       D.     Camera Discipline

       As of August 2015, NOPD has initiated 143 investigations relating to activating Body
Worn Cameras. Of the 79 investigations initiated in 2015, 38 resulted in the investigation
“sustaining” the complaint (i.e., finding that the complaint was valid and the officer should
be counseled and/or disciplined). So far, of those 38 sustained complaints, NOPD has held
12 hearings and another 26 had been scheduled as of the drafting of this Quarterly Report.
Of the 12 hearings held, 10 officers received a 1-day suspension, and 2 officers received a 5-
day suspension.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 71 of 135
Page 71 of 135
October 2, 2015
www.consentdecreemonitor.com



        While it still is too early to assess whether NOPD’s disciplinary process is effectively
prompting officers to activate their cameras properly and consistently, anecdotally the
Monitoring Team can say camera use is most definitely becoming the norm among officers.
We rarely see officers on scenes without their cameras activated. While NOPD officers
obviously have not achieved perfection in this regard, progress is being made. Our
observations in this regard, of course, will be confirmed (or not) by the actual data. Several
months ago, the Monitoring Team conducted a baseline review of camera usage by NOPD
officers. We now are in the process of conducting a follow-up review and will report the
results, which we expect will show positive trends, in a forthcoming report.

        In the meantime, other data suggest progress is being made. In 2014, for example,
PIB received 64 complaints regarding camera non-use or misuse. (Importantly, this
number should not be surprising considering cameras still were a new technology in
2014.) Of those 64 complaints, 15 were initiated by NOPD supervisors and 49 were
initiated by citizens. So far in 2015, however, PIB has received 79 camera related
complaints. That this number is higher than the prior year should be expected and, frankly,
is not a negative. First, more officers have cameras than in 2014. Second, with the
Monitoring Team and the NOPD Compliance Bureau closely observing supervisors and
their review of BWC recordings, those supervisors are more diligently reviewing BWC
videos in 2015 than they were in 2014. The following graph is instructive:


                                        BWC Discipline

          50
          45
          40
          35
          30                                                                             2014
          25                                                                             2015
          20
          15
          10
            5
            0
                       Rank-Initiated               Citizen-Initiated
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 72 of 135
Page 72 of 135
October 2, 2015
www.consentdecreemonitor.com



Notably, the number of citizen-initiated complaints has remained mostly constant since
2014, but the number of supervisor-initiated complaints has gone up significantly. While,
obviously, we want to see fewer complaints over time, at this point, an increase in such
complaints is a good thing and reflects positively on NOPD.

       E.     In-Car Cameras

       As noted in our last several Quarterly Reports, NOPD’s in-car cameras frequently
were non-operative. It turned out, much of the problem here was due to outdated
technology and inadequate server capacity. After significant pushing by the Monitoring
Team, and, admittedly, significant effort by the City and the NOPD, the Department
upgraded its server technology in August 2015 and solved most of the problems in this
area. The Monitoring Team’s most recent review of in-car cameras revealed that almost all
were fully functional.

       F.     Supervisor Work Load

       In our recently-published Special Report on NOPD Supervision, and at the
associated public court hearing, the Monitoring Team criticized NOPD for overburdening
sergeants with administrative work, which reduced the time they were able to spend
actually supervising the officers under their command. While administrative work (e.g.,
reporting writing, time keeping, etc.) always has been and always will be a component of a
sergeant’s work load, we pushed the Department to take a hard look at the tasks assigned
to supervisors to ensure all were necessary. To NOPD’s credit, it now is in the process of
doing exactly that.

       In June, the Department engaged an outside consulting firm to help it catalog,
review, and evaluate the tasks given to field supervisors. One immediate result of NOPD’s
focus in this area already has been implemented. In August, NOPD initiated a change to its
timekeeping/payroll system to reduce the time supervisors have to sit in front of a
computer doing administrative work. (Prior to this change, supervisors actually must type
work schedules into two different systems, wasting significant time and effort.)

       Another significant technology enhancement that will insure to the benefit of
supervisors (and officers) is the implementation of new software that will ensure camera
videos are “tagged” with date, location, and event information directly from the
Department’s CAD system. By automating this process rather than relying on officers to re-
type the information into a different system after their shifts, supervisors will have more
accurate, more timely, and more useful information as they review officer BWC recordings.
     Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 73 of 135
Page 73 of 135
October 2, 2015
www.consentdecreemonitor.com



XVII. SIGNAL CODE REVIEW

       Paragraph 206 of the Consent Decree provides that during the first year of the
Consent Decree, “neither patrol officers nor detectives shall code reported sexual assaults
in a miscellaneous or non-criminal category without the express written approval of the
Investigative Services Bureau Special Victim Section Commander and the Investigative
Services Bureau Criminal Investigations Division Commander.” The Consent Decree goes
on to command that, following the first year, “patrol officers shall not code reported sexual
assaults in a miscellaneous or non-criminal category,” and that “any decision by a detective
to do so shall receive close secondary review and shall be approved in writing by an
immediate Sex Crimes unit supervisor and the Division commander.”

       To assess the Department’s compliance with paragraph 206, and as a follow-up to
the New Orleans OIG’s November 2014 Special Victims Unit report,29 the Monitoring Team
randomly selected 53 items coded by NOPD as a “Signal 21.” (“Signal 21” is NOPD’s code
for a miscellaneous complaint.) The selected items covered the period October 2014 –
December 2014. We then reviewed the available incident reports, BWC recordings, Field
Interview Cards, and other documentation associated with those 53 items to evaluate
whether (a) they were properly coded as a Signal 21, (b) NOPD appropriately investigated
any underlying sex crime, and (c) the involved officer’s BWC was turned on and operated in
a compliant manner.

        Of the 53 Signal 21s reviewed, we found only 34% of them had sufficient
information to evaluate the correctness of the signal and the completeness of the follow-
through by NOPD. Of these, we determined that all were properly coded as a Signal 21
and all were investigated as appropriate. 66% of cases reviewed, however, required
additional information from NOPD in order to validate the correctness of the signal and/or
the follow-up. Importantly, these 35 items (i.e., 66%) may have been properly coded
and may have been properly investigated. Our findings at this point go only to the
availability of the information necessary to reach a conclusion. The Monitoring Team
presented the NOPD Compliance Bureau with a list of those 35 cases for further review.

        The Monitoring Team will report the results of NOPD’s follow-up on these 35 cases
in a future report. In the meantime, however, we recommend NOPD take steps to ensure
items coded as a Signal 21 include some additional comments in the communications




29      On November 12, 2014, the New Orleans Office of Inspector General released the results of an
        inquiry into sex crime investigations by five detectives in the Special Victims Section of the New
        Orleans Police Department. The OIG Investigations Division reviewed 90 randomly selected NOPD
        sex crime related reports, and found significant concerns with 23 reports from five detectives.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 74 of 135
Page 74 of 135
October 2, 2015
www.consentdecreemonitor.com



notations so that supervisors are able to see the nature of the call and the propriety of the
signal.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 75 of 135
Page 75 of 135
October 2, 2015
www.consentdecreemonitor.com



XVIII. Agreement Implementation And Enforcement (Cd 444 – 492)

       A.     Coordination with IPM (CD 459)

       The Consent Decree provides the Monitoring Team shall coordinate and confer with
the Independent Police Monitor. (CD 459) As in the past, the Monitoring Team and IPM
communicated frequently during this quarter and coordinated their efforts to the extent
practicable. The Monitoring Team remains pleased with and grateful for the level of
cooperation it receives from the IPM.

       B.     NOPD Consent Decree Implementation Unit (CD 467)

        Paragraph 467 of the Consent Decree provides that the City and NOPD will “hire and
retain, or reassign current NOPD employees to form, an inter-disciplinary unit with the
skills and abilities necessary to facilitate implementation” of the Consent Decree. The
Consent Decree goes on to explain this unit “will serve as a liaison between the Parties and
the Monitoring Team and will assist with the implementation of and compliance with this
Agreement.”

        The NOPD Compliance Bureau now has been fully staffed since July 2014, and the
Monitoring Team continues to be pleased by the Unit’s knowledge, skill level, and
demonstrated commitment to the Consent Decree process; and recognizes the full
cooperation it continues to receive from the Unit. Indeed, we confidently can say that much
of the Department’s recent progress has been due, in part at least, to the efforts or the
Compliance Bureau.

        On July 20, 2015, NOPD changed management of the Compliance Bureau. The new
Bureau director, Deputy Chief Timothy Averill comes to the Department from the Louisiana
Supreme Court, where he served as the Judicial Administrator. The Monitoring Team looks
forward to working with Deputy Chief Averill, and thanks outgoing Deputy Chief Ginsberg
for his outstanding leadership setting up and staffing a top-notch Compliance Bureau.

       C.     NOPD and City Cooperation (CD 470 – 476)

      The Consent Decree provides the City and NOPD shall fully cooperate with the
Monitoring Team in all aspects of its responsibilities. We are pleased to report that the City
and NOPD did fully cooperate with the Monitoring Team throughout this reporting quarter.

        The Monitoring Team also continues to receive the full cooperation of and continues
to work closely with the New Orleans Office of Inspector General (“OIG”). While the OIG’s
activities do not fall within our monitoring responsibilities under the Consent Decree, the
OIG has kept us apprised of its audit plans and investigators as they relate to the NOPD.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 76 of 135
Page 76 of 135
October 2, 2015
www.consentdecreemonitor.com



        Finally, the Monitoring Team also has been impressed with the close working
relationship between NOPD’s current domestic violence detectives and the Orleans Parish
District Attorney’s Office, and the level of cooperation we continue to receive from the DA’s
office.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 77 of 135
Page 77 of 135
October 2, 2015
www.consentdecreemonitor.com



XIX.   Conclusion

        The past quarter was one of significant progress in several areas of the Consent
Decree, but ongoing frustration in some other areas. All in all, however, the Monitoring
Team has been encouraged in 2015 by the Department’s energy, thoughtfulness, and
commitment toward the Consent Decree, and toward improving the Department generally.
As we noted in the introduction to this Report, while we continue to remain frustrated by
the pace of change, we have noticed over the past 12 months an encouraging change in the
attitude of NOPD leadership. This change has enabled NOPD to make new strides toward
compliance, and also has enabled the Monitoring Team to move forward with certain
critical monitoring/assessment activities that were not practical in the first year of
monitoring.

        The two most important of these activities are (1) developing objectively verifiable
measurements to evaluate full and effective compliance with each paragraph of the
Consent Decree and (2) initiating the outcome measurements required by the Consent
Decree. Paragraph 491 of the Consent Decree provides that NOPD will emerge from the
Consent Decree – and, accordingly, the oversight of the Monitoring Team and the federal
district court – when it has been in “full and effective” compliance with the Consent Decree
for two years. “Full and effective compliance” is defined as “sustained compliance with all
material requirements” of the Consent Decree, or “sustained and continuing improvement
in constitutional policing” as demonstrated by the Consent Decree’s “outcome
measurements.” Consequently, both of these activities are critically important because
they serve as the gatekeepers to termination of the Consent Decree.

        To understand the importance of developing objectively measurable compliance
standards, one first must understand the Consent Decree often speaks in general terms.
For example, the Consent Decree requires NOPD supervisors to provide “close and
effective” supervision to officers. But without a clear understanding of what constitutes
“close and effective” supervision, it will be difficult for NOPD to demonstrate “sustained”
compliance. To remedy this, the Monitoring Team has nearly completed a detailed effort to
ensure each paragraph of the Consent Decree is objectively measurable and that the
standards by which each paragraph will be measured are well known to NOPD.

       Concurrent with our work on the objective compliance measurements, the
Monitoring Team also has been working closely with the NOPD Compliance Bureau to
identify the data necessary to conduct the outcome measurements required by the Consent
Decree. Much of the data necessary to perform this critical evaluation, however, still is not
maintained by NOPD. But to the Department’s credit, it has been working hard to remedy
such gaps. We are confident we will be able to begin conducting the outcome
measurements in the near future.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 78 of 135
Page 78 of 135
October 2, 2015
www.consentdecreemonitor.com



        The new progress in the forgoing areas, however, and the ongoing progress in the
other areas outlined in this Report should not be read to suggest that all yet is well. The
Department still has a ways to go in several areas, including the Academy, supervision, and
hiring, among others. But real progress is being made.
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 79 of 135
Page 79 of 135
October 2, 2015
www.consentdecreemonitor.com



XX.   Appendices
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 80 of 135
Page 80 of 135
October 2, 2015
www.consentdecreemonitor.com




                                Appendix 1 -- Vehicle Pursuit Data

Table 9.        Frequency of pursuits by month, January 2014 – February 2015

            Month                        2014                   2015            Total
                                    N         %            N         %     N         %
            January                  2        3.5           9       90.0   11       16.4
            February                 4        7.0           1       10.0    5        7.4
            March                    5        8.8          --        --     5        7.4
            April                    4        7.0          --        --     4        6.0
            May                      4        7.0          --        --     4        6.0
            June                     9       15.8          --        --     9       13.4
            July                     6       10.5          --        --     6        9.0
            August                   5        8.8          --        --     5        7.4
            September                7       12.3          --        --     7       10.4
            October                  4        7.0          --        --     4        6.0
            November                 4        7.0          --        --     4        6.0
            December                 3        5.3          --        --     3        4.5
            Total                   57      100.0          10      100.0   67      100.0
            Note: % Columns may not add to exactly 100 due to rounding.



Table 10.       Frequency of pursuits by day of week, January 2014 – February 2015

           Day of week             2014                    2015                 Total
                              N          %            N             %      N          %
           Monday              7        12.3           1          10.0      8       11.9
           Tuesday            12        21.1           0           0.0     12       17.9
           Wednesday           7        12.3           0           0.0      7       10.4
           Thursday            9        15.8           4          40.0     13       19.4
           Friday              9        15.8           2          20.0     11       16.4
           Saturday            7        12.3           0           0.0      7       10.4
           Sunday              6        10.5           3          30.0      9       13.4
           Total              57       100.0          10         100.0     67      100.0
           Note: % Columns may not add to exactly 100 due to rounding.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 81 of 135
Page 81 of 135
October 2, 2015
www.consentdecreemonitor.com



Table 11.     Violation prompting pursuit, January 2014 – February 2015

            Violation                     2014               2015              Total
                                     N         %        N        %        N         %
            DWI                       1       1.8        0       0.0       1        1.5
            Felony                   16      28.6        6      60.0      20       30.3
            Hit and run               0       0.0        1      10.0       1        1.5
            Medical                   1       1.8        0       0.0       1        1.5
            Misdemeanor               2       3.6        0       0.0       2        3.0
            Possible auto theft       1       1.8        0       0.0       1        1.5
            Stolen vehicle           11      19.6        1      10.0      12       18.2
            Switched plate            1       1.8        0       0.0       1        1.5
            Traffic                  23      41.1        2      20.0      25       37.9
            Total                    56      100.0      10      100.0     66      100.0
            Note: % Columns may not add to exactly 100 due to rounding.



Table 12.     Number of injured officers, January 2014 – February 2015

                                  Injuries 2014 2015 Total
                                  0         53   10   63
                                  1          1    0    1
                                  2          1    0    1
                                  Total     55   10   65


Table 13.     Number of injured suspects, January 2014 – February 2015

                                  Injuries 2014 2015 Total
                                  0         54   10   64
                                  1          1    0    1
                                  Total     55   10   65
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 82 of 135
Page 82 of 135
October 2, 2015
www.consentdecreemonitor.com



Table 14.   Number of injured bystanders or private vehicles, January 2014 –
February 2015

                                 Injuries 2014 2015 Total
                                 0         54    9   63
                                 1          1    1    2
                                 Total     55   10   65


Table 15.    Property damage stemming from pursuits, January 2014 – February
2015

      Damage                       2014                   2015             Total
                              N          %           N          %     N          %
      None                    41        74.5          5        50.0   46        70.8
      Light                   11        20.0          2        20.0   13        20.0
      Medium                   2         3.6          1        10.0    3         4.6
      Heavy                    1         1.8          1        10.0    2         3.0
      Unknown                  0         0.0          1        10.0    1         1.5
      Total                   55       100.0         10       100.0   65       100.0
      Note: % Columns may not add to exactly 100 due to rounding.
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 83 of 135
Page 83 of 135
October 2, 2015
www.consentdecreemonitor.com



Table 16.       Pursuit outcomes, January 2014 – February 2015

Outcome                                                     2014         2015          Total
                                                         N      %      N     %      N       %
NOPD terminates pursuit                                   6     11.8   3     30.0    9     14.8
NOPD unit disabled                                        1      2.0   0      0.0    1       1.6
Pursued vehicle escapes                                   3      5.9   0      0.0    3       4.9
Pursued vehicle in collision                              4      7.8   2     20.0    6       9.8
Pursued vehicle spins out                                 3      5.9   0      0.0    3       4.9
Pursued vehicle stops                                     6     11.8   1     10.0    7     11.5
Pursued vehicle stops, driver arrested                    4      7.8   0      0.0    4       6.6
Pursued vehicle stops, driver flees on foot              18     35.3   4     40.0   22     36.1
Pursued vehicle stops, driver flees on foot, is           3      5.9   0      0.0    3       4.9
arrested
Pursued vehicle stops, driver flees on foot,             2       3.9   0      0.0   2       3.3
escapes
Pursuit ended by another agency                           1     2.0     0     0.0    1      1.6
Total                                                    51   100.0    10   100.0   61    100.0
Note: % Columns may not add to exactly 100 due to rounding.
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 84 of 135
Page 84 of 135
October 2, 2015
www.consentdecreemonitor.com




         Appendix 2 Community Survey: Demographic Breakdown Analysis
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 85 of 135
Page 85 of 135
October 2, 2015
www.consentdecreemonitor.com



Table 1.       Community survey respondent demographic characteristics

                                                             N                               %
Gender
 Male                                                       270                            49.2%
 Female                                                     264                            48.1%

Age
 18-24                                                       28                             5.1%
 25-34                                                      133                            24.2%
 35-44                                                      112                            20.4%
 45-54                                                      102                            18.6%
 55-64                                                       86                            15.7%
 65+                                                         71                            12.9%

Race/ethnicity
 Black                                                      277                            50.5%
 White                                                      208                            37.9%
 Asian                                                        7                             1.3%
 Hispanic                                                    14                             2.6%
 Other                                                       20                             3.6%

Education
 Grade school                                                 9                             1.6%
 Grade 9 to 11                                               51                             9.3%
 High school                                                135                            24.6%
 Some college                                               122                            22.2%
 College degree                                             139                            25.3%
 Graduate/professional degree                                70                            12.8%

Marital status
 Single                                                     222                            40.4%
 Married                                                    184                            33.5%
 Divorced                                                    64                            11.7%
 Widowed                                                     32                             5.8%
 Partnered                                                   27                             4.9%

Rent or own home
 Own                                                        260                            47.4%
 Rent                                                       243                            44.3%

Born in New Orleans
 Yes                                                        345                            62.8%
 No                                                         182                            33.2%

Note: Percentages do not sum to 100% because of missing values (i.e., nonresponse).

    -      Table 1 was provided in the initial community survey analysis submitted to the OCDM team in
           February 2015. The table is provided again in this report simply for reference.
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 86 of 135
Page 86 of 135
October 2, 2015
www.consentdecreemonitor.com




                                 SECTION 1

                          Community Survey Results:
                          Breakdown across Gender
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 87 of 135
Page 87 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 1.1.   Citizens’ satisfaction with NOPD officers during most recent interaction—Across gender

                                                                             Male                          Female

1. I felt that the police officer was trustworthy.                           2.57                          2.76*

2. I had confidence the police officer was following                         2.63                           2.76
the correct police procedure.

3. I was satisfied with how the police officer behaved.                      2.62                           2.71

4. I followed the specific instructions given to me by                       3.11                          3.27**
the police officer.

5. The police officer treated me with dignity.                               2.59                          2.86**

6. The police officer treated me with respect.                               2.61                          2.87**

7. The police officer was polite when dealing with me.                       2.63                          2.82*

8. If I was stopped or questioned, the police officer                        2.53                          2.78*
adequately explained the reasons why. 1

9. The police officer gave me the opportunity to                             2.40                          2.72**
express my view. 1

10. Overall, the police officer did a good job. 1                            2.47                          2.68†

11. I was satisfied with how I was treated by the                            2.45                          2.70*
police officer. 1

12. I was satisfied with the outcome of my experience                        2.48                           2.63
with the police. 1
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
1 Question was only asked to those respondents that indicated they had been “stopped and questioned.”

† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 88 of 135
Page 88 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 1.2.    Citizens’ satisfaction with NOPD—Across gender

                                                                                  Male                      Female

1. While conducting their police duties, NOPD officers                            2.48                       2.50
follow the law.

2. The level of corruption in the New Orleans Police                              2.14                      2.29*
Department is low.

3. I do not fear interacting with New Orleans police                              2.69                       2.78
officers.

4. There is more police presence in the French Quarter                            3.20                       3.13
than in other areas of the City of New Orleans.

5. I feel the scandals associated with the New Orleans                            2.46                       2.38
Police Department in the past do not reflect the current
practices of the NOPD.

6. Since Hurricane Katrina, the New Orleans Police                                2.28                       2.31
Department has become a better police department.

7. I am satisfied with the way NOPD officers do their job.                        2.27                       2.29

8. NOPD officers respond, when called, in a timely manner.                        2.02                       2.03

9. When compared to 3 years ago, my neighborhood now                              2.41                       2.37
has more confidence in the NOPD.

10. Most crimes that take place in New Orleans are not                            2.38                       2.38
solved by the police.

11. Overall, the New Orleans Police Department has little                         2.39                       2.36
impact on crime in New Orleans.

12. There is a great need for more professionalization in the                     1.84                       1.86
New Orleans Police Department.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 89 of 135
Page 89 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 1.3.    Citizens’ perceptions of NOPD procedural justice and trustworthiness—Across gender

                                                                               Male                         Female

1. Police officers in New Orleans are, for the most part,                       2.44                         2.48
honest.
2. Police officers in New Orleans are superior to other                         2.12                         2.28
police departments in terms of integrity.
3. Police officers in New Orleans are fair.                                     2.38                         2.43
4. Police officers in New Orleans are professional.                             2.39                         2.42
5. Police officers in New Orleans are not racist or biased                      2.25                         2.31
against minorities.
6. I can count on New Orleans police officers to treat me                       2.45                         2.54
fairly.
7. New Orleans police officers treat victims of crime                           2.31                         2.35
very well.
8. Police officers in New Orleans know they have to win                         2.90                         2.81
the confidence of the public to be effective.
9. Police officers in New Orleans treat tourists in the                         2.25                         2.28
same manner they treat citizens of New Orleans.
10. I trust the NOPD.                                                           2.32                         2.42
11. I have confidence in the NOPD.                                              2.31                         2.37
12. I respect the NOPD.                                                         2.67                         2.75
13. I feel a moral obligation to obey the law.                                  3.25                         3.27
14. The NOPD tries to be fair when making decisions.                            2.48                         2.50
15. Generally, NOPD officers stop and frisk people for                          2.30                         2.42
legitimate reasons.
16. During routine encounters with members of the                               2.61                         2.61
public, NOPD officers use appropriate language.
17. For the most part, NOPD officers use language that is                       2.54                         2.55
not degrading when interacting with citizens.
18. Police officers in New Orleans stop and frisk people as                     2.34                         2.30
a form of harassment.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 90 of 135
Page 90 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 1.4.    Citizens’ willingness to cooperate with the NOPD—Across gender

                                                                            Male                            Female

1. I would report a dangerous or suspicious activity                         2.86                           3.00*
to the NOPD.

2. If asked, I would help the NOPD find someone who                          2.52                            2.63
is suspected of having committed a crime.

3. I would not call the NOPD if I witnessed or became                        2.75                            2.84
aware of a crime.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized
questions are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with
the statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 91 of 135
Page 91 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 1.5.   Citizens’ views regarding how they believe NOPD officers should behave—Across gender

                                                                           Male                        Female

1. The NOPD should be accountable for their actions.                        3.54                           3.40**

2. The NOPD should keep the public informed.                                3.45                           3.33*

3. The NOPD should be open and honest when dealing                          3.50                           3.42
with the public.

4. The NOPD should treat people with respect.                               3.60                           3.53

5. The NOPD should be interested in the well-being of                       3.50                           3.44
ordinary citizens.

6. Working conditions for police officers in New                            2.31                           2.32
Orleans are good.

7. To the best of my knowledge, NOPD officers have                          2.39                           2.45
ready access to language interpretation services to
help communicate with those who does [sic] not
speak English.

8. The NOPD has enough Spanish speaking officers                            2.23                           2.22
who can interact with Spanish speaking suspects.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 92 of 135
Page 92 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 1.6.    Citizens’ perceptions of how NOPD officers treat minorities and other groups—Across gender

                                                                                   Male                    Female

1. New Orleans police officers treat members of the African                        2.04                    2.17†
American community fairly.

2. New Orleans police officers treat members of the Latino                         2.23                     2.34
community fairly.

3. New Orleans police officers treat members of the                                2.52                     2.52
Vietnamese community fairly.

4. New Orleans police officers treat members of the Lesbian,                       2.31                     2.31
Gay, Bisexual and Transgender (LGBT) community fairly.
5. Many victims in New Orleans Latino community fear                               2.87                     2.85
reporting a crime due to fear of deportation.

6. New Orleans police officers often engage in racial profiling.                   2.13                    2.25†

7. The African American community in New Orleans expects to                        2.06                     2.12
be harassed by the NOPD.
8. The African American community in New Orleans does not                          2.05                     2.10
believe the NOPD is credible.
9. There is a great deal of unfairness and bias by the NOPD                        2.11                     2.08
toward the African American community.

10. The Lesbian, Gay, Bisexual and Transgender (LGBT)                              2.37                     2.31
community does not have confidence in the NOPD.

11. During encounters between the NOPD and the homeless                            2.16                     2.20
population in New Orleans, the homeless are often treated
poorly by the NOPD.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 93 of 135
Page 93 of 135
October 2, 2015
www.consentdecreemonitor.com




                                              SECTION 2

                                  Community Survey Results:
                                    Breakdown across Age




                                 Office of the Consent Decree Monitor
             Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 94 of 135
Page 94 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 2.1.   Citizens’ satisfaction with NOPD officers during most recent interaction—Across age

                                                                           18 to 34                        35 and older

1. I felt that the police officer was trustworthy.                           2.44                            2.77**

2. I had confidence the police officer was following                         2.56                             2.75†
the correct police procedure.

3. I was satisfied with how the police officer behaved.                      2.48                             2.75*

4. I followed the specific instructions given to me by                       3.20                             3.17
the police officer.

5. The police officer treated me with dignity.                               2.50                            2.83**

6. The police officer treated me with respect.                               2.59                             2.80*

7. The police officer was polite when dealing with me.                       2.54                             2.80*

8. If I was stopped or questioned, the police officer                        2.49                             2.73*
adequately explained the reasons why. 1

9. The police officer gave me the opportunity to                             2.33                             2.64*
express my view. 1

10. Overall, the police officer did a good job. 1                            2.31                            2.68**

11. I was satisfied with how I was treated by the                            2.38                             2.64*
police officer. 1

12. I was satisfied with the outcome of my experience                        2.32                            2.66**
with the police. 1
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
1 Question was only asked to those respondents that indicated they had been “stopped and questioned.”

† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 95 of 135
Page 95 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 2.2.    Citizens’ satisfaction with NOPD—Across age

                                                                                18 to 34                    35 and older

1. While conducting their police duties, NOPD officers                            2.38                         2.54*
follow the law.

2. The level of corruption in the New Orleans Police                              2.05                        2.28**
Department is low.

3. I do not fear interacting with New Orleans police                              2.68                         2.77
officers.

4. There is more police presence in the French Quarter                            3.25                         3.13†
than in other areas of the City of New Orleans.

5. I feel the scandals associated with the New Orleans                            2.19                        2.52**
Police Department in the past do not reflect the current
practices of the NOPD.

6. Since Hurricane Katrina, the New Orleans Police                                2.23                         2.32
Department has become a better police department.

7. I am satisfied with the way NOPD officers do their job.                        2.14                        2.34**

8. NOPD officers respond, when called, in a timely manner.                        1.81                        2.12**

9. When compared to 3 years ago, my neighborhood now                              2.26                         2.45*
has more confidence in the NOPD.

10. Most crimes that take place in New Orleans are not                            2.25                         2.44*
solved by the police.

11. Overall, the New Orleans Police Department has little                         2.31                          2.40
impact on crime in New Orleans.

12. There is a great need for more professionalization in the                     1.73                         1.90*
New Orleans Police Department.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 96 of 135
Page 96 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 2.3.    Citizens’ perceptions of NOPD procedural justice and trustworthiness—Across age

                                                                             18 to 34                       35 and older

1. Police officers in New Orleans are, for the most part,                       2.31                          2.53**
honest.
2. Police officers in New Orleans are superior to other                         2.08                           2.26*
police departments in terms of integrity.
3. Police officers in New Orleans are fair.                                     2.25                          2.48**
4. Police officers in New Orleans are professional.                             2.28                           2.47*
5. Police officers in New Orleans are not racist or biased                      2.19                           2.32†
against minorities.
6. I can count on New Orleans police officers to treat me                       2.37                           2.56*
fairly.
7. New Orleans police officers treat victims of crime                           2.16                          2.40**
very well.
8. Police officers in New Orleans know they have to win                         2.92                           2.82
the confidence of the public to be effective.
9. Police officers in New Orleans treat tourists in the                         2.18                           2.30
same manner they treat citizens of New Orleans.
10. I trust the NOPD.                                                           2.17                          2.46**
11. I have confidence in the NOPD.                                              2.21                           2.40*
12. I respect the NOPD.                                                         2.52                          2.79**
13. I feel a moral obligation to obey the law.                                  3.20                           3.29
14. The NOPD tries to be fair when making decisions.                            2.34                          2.56**
15. Generally, NOPD officers stop and frisk people for                          2.17                          2.45**
legitimate reasons.
16. During routine encounters with members of the                               2.47                          2.67**
public, NOPD officers use appropriate language.
17. For the most part, NOPD officers use language that is                       2.47                           2.57
not degrading when interacting with citizens.
18. Police officers in New Orleans stop and frisk people as                     2.15                           2.39**
a form of harassment.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 97 of 135
Page 97 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 2.4.    Citizens’ willingness to cooperate with the NOPD—Across age

                                                                          18 to 34                      35 and older

1. I would report a dangerous or suspicious activity                         2.79                           2.99**
to the NOPD.

2. If asked, I would help the NOPD find someone who                          2.46                           2.63*
is suspected of having committed a crime.

3. I would not call the NOPD if I witnessed or became                        2.72                            2.83
aware of a crime.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized
questions are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with
the statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 98 of 135
Page 98 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 2.5.   Citizens’ views regarding how they believe NOPD officers should behave—Across age

                                                                         18 to 34                   35 and older

1. The NOPD should be accountable for their actions.                        3.65                           3.39**

2. The NOPD should keep the public informed.                                3.58                           3.31**

3. The NOPD should be open and honest when dealing                          3.64                           3.38**
with the public.

4. The NOPD should treat people with respect.                               3.72                           3.50**

5. The NOPD should be interested in the well-being of                       3.62                           3.41**
ordinary citizens.

6. Working conditions for police officers in New                            2.34                           2.30
Orleans are good.

7. To the best of my knowledge, NOPD officers have                          2.43                           2.42
ready access to language interpretation services to
help communicate with those who does [sic] not
speak English.

8. The NOPD has enough Spanish speaking officers                            2.28                           2.19
who can interact with Spanish speaking suspects.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
    Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 99 of 135
Page 99 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 2.6.    Citizens’ perceptions of how NOPD officers treat minorities and other groups—Across age

                                                                                 18 to 34                  35 and older

1. New Orleans police officers treat members of the African                        1.98                       2.16*
American community fairly.

2. New Orleans police officers treat members of the Latino                         2.16                       2.34*
community fairly.

3. New Orleans police officers treat members of the                                2.54                       2.51
Vietnamese community fairly.

4. New Orleans police officers treat members of the Lesbian,                       2.21                       2.35†
Gay, Bisexual and Transgender (LGBT) community fairly.

5. Many victims in New Orleans Latino community fear                               2.95                       2.82†
reporting a crime due to fear of deportation.

6. New Orleans police officers often engage in racial profiling.                   2.04                       2.26*

7. The African American community in New Orleans expects to                        1.84                       2.20*
be harassed by the NOPD.

8. The African American community in New Orleans does not                          1.79                       2.21*
believe the NOPD is credible.

9. There is a great deal of unfairness and bias by the NOPD                        1.82                       2.22*
toward the African American community.

10. The Lesbian, Gay, Bisexual and Transgender (LGBT)                              2.15                       2.43*
community does not have confidence in the NOPD.

11. During encounters between the NOPD and the homeless                            2.01                       2.26*
population in New Orleans, the homeless are often treated
poorly by the NOPD.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
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                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 100 of 135
Page 100 of 135
October 2, 2015
www.consentdecreemonitor.com




                                              SECTION 3

                                  Community Survey Results:
                                   Breakdown across Race




                                 Office of the Consent Decree Monitor
             Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 101 of 135
Page 101 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 3.1.   Citizens’ satisfaction with NOPD officers during most recent interaction—Across race

                                                                       Racial minority                     White

1. I felt that the police officer was trustworthy.                           2.55                          2.82**

2. I had confidence the police officer was following                         2.49                          2.94**
the correct police procedure.

3. I was satisfied with how the police officer behaved.                      2.50                          2.88**

4. I followed the specific instructions given to me by                       3.20                          3.17
the police officer.

5. The police officer treated me with dignity.                               2.55                          2.97**

6. The police officer treated me with respect.                               2.60                          2.92**

7. The police officer was polite when dealing with me.                       2.56                          2.93**

8. If I was stopped or questioned, the police officer                        2.52                          2.83**
adequately explained the reasons why. 1

9. The police officer gave me the opportunity to                             2.43                          2.69*
express my view. 1

10. Overall, the police officer did a good job. 1                            2.36                          2.85**

11. I was satisfied with how I was treated by the                            2.40                          2.79**
police officer. 1

12. I was satisfied with the outcome of my experience                        2.40                          2.77**
with the police. 1
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
1 Question was only asked to those respondents that indicated they had been “stopped and questioned.”

† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 102 of 135
Page 102 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 3.2.    Citizens’ satisfaction with NOPD—Across race

                                                                            Racial minority                 White

1. While conducting their police duties, NOPD officers                            2.35                      2.71**
follow the law.

2. The level of corruption in the New Orleans Police                              2.21                      2.23
Department is low.

3. I do not fear interacting with New Orleans police                              2.68                      2.85*
officers.

4. There is more police presence in the French Quarter                            3.23                      3.04**
than in other areas of the City of New Orleans.

5. I feel the scandals associated with the New Orleans                            2.39                      2.46
Police Department in the past do not reflect the current
practices of the NOPD.

6. Since Hurricane Katrina, the New Orleans Police                                2.15                      2.53**
Department has become a better police department.

7. I am satisfied with the way NOPD officers do their job.                        2.15                      2.48**

8. NOPD officers respond, when called, in a timely manner.                        1.91                      2.22**

9. When compared to 3 years ago, my neighborhood now                              2.24                      2.62**
has more confidence in the NOPD.

10. Most crimes that take place in New Orleans are not                            2.38                       2.38
solved by the police.

11. Overall, the New Orleans Police Department has little                         2.26                      2.56**
impact on crime in New Orleans.

12. There is a great need for more professionalization in the                     1.83                       1.88
New Orleans Police Department.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
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                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 103 of 135
Page 103 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 3.3.    Citizens’ perceptions of NOPD procedural justice and trustworthiness—Across race

                                                                         Racial minority                    White

1. Police officers in New Orleans are, for the most part,                       2.28                        2.74*
honest.
2. Police officers in New Orleans are superior to other                         2.17                        2.24
police departments in terms of integrity.
3. Police officers in New Orleans are fair.                                     2.28                        2.59*
4. Police officers in New Orleans are professional.                             2.27                        2.61*
5. Police officers in New Orleans are not racist or biased                      2.26                        2.32
against minorities.
6. I can count on New Orleans police officers to treat me                       2.29                        2.82**
fairly.
7. New Orleans police officers treat victims of crime                           2.24                        2.46**
very well.
8. Police officers in New Orleans know they have to win                         2.80                        2.94†
the confidence of the public to be effective.
9. Police officers in New Orleans treat tourists in the                         2.13                        2.49**
same manner they treat citizens of New Orleans.
10. I trust the NOPD.                                                           2.19                        2.65**
11. I have confidence in the NOPD.                                              2.19                        2.57**
12. I respect the NOPD.                                                         2.62                        2.84**
13. I feel a moral obligation to obey the law.                                  3.23                        3.32
14. The NOPD tries to be fair when making decisions.                            2.35                        2.71**
15. Generally, NOPD officers stop and frisk people for                          2.28                        2.49**
legitimate reasons.
16. During routine encounters with members of the                               2.50                        2.78**
public, NOPD officers use appropriate language.
17. For the most part, NOPD officers use language that is                       2.44                        2.70**
not degrading when interacting with citizens.
18. Police officers in New Orleans stop and frisk people as                     2.13                        2.64**
a form of harassment.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
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                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 104 of 135
Page 104 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 3.4.    Citizens’ willingness to cooperate with the NOPD—Across race

                                                                      Racial minority                       White

1. I would report a dangerous or suspicious activity                         2.75                           3.21**
to the NOPD.

2. If asked, I would help the NOPD find someone who                          2.38                           2.89**
is suspected of having committed a crime.

3. I would not call the NOPD if I witnessed or became                        2.63                           3.08**
aware of a crime.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized
questions are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with
the statement).
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                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 105 of 135
Page 105 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 3.5.   Citizens’ views regarding how they believe NOPD officers should behave—Across race

                                                                     Racial minority                       White

1. The NOPD should be accountable for their actions.                        3.42                           3.54*

2. The NOPD should keep the public informed.                                3.32                           3.51**

3. The NOPD should be open and honest when dealing                          3.41                           3.55**
with the public.

4. The NOPD should treat people with respect.                               3.51                           3.65**

5. The NOPD should be interested in the well-being of                       3.41                           3.56**
ordinary citizens.

6. Working conditions for police officers in New                            2.37                           2.23*
Orleans are good.

7. To the best of my knowledge, NOPD officers have                          2.40                           2.46
ready access to language interpretation services to
help communicate with those who does [sic] not
speak English.

8. The NOPD has enough Spanish speaking officers                            2.25                           2.19
who can interact with Spanish speaking suspects.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 106 of 135
Page 106 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 3.6.    Citizens’ perceptions of how NOPD officers treat minorities and other groups—Across race

                                                                             Racial minority               White

1. New Orleans police officers treat members of the African                        1.98                    2.30**
American community fairly.

2. New Orleans police officers treat members of the Latino                         2.22                    2.37*
community fairly.

3. New Orleans police officers treat members of the                                2.49                    2.55
Vietnamese community fairly.

4. New Orleans police officers treat members of the Lesbian,                       2.23                    2.41**
Gay, Bisexual and Transgender (LGBT) community fairly.

5. Many victims in New Orleans Latino community fear                               2.84                    2.88
reporting a crime due to fear of deportation.

6. New Orleans police officers often engage in racial profiling.                   2.15                     2.26

7. The African American community in New Orleans expects to                        2.03                    2.19*
be harassed by the NOPD.

8. The African American community in New Orleans does not                          2.06                     2.11
believe the NOPD is credible.

9. There is a great deal of unfairness and bias by the NOPD                        1.96                    2.32**
toward the African American community.

10. The Lesbian, Gay, Bisexual and Transgender (LGBT)                              2.29                    2.42†
community does not have confidence in the NOPD.

11. During encounters between the NOPD and the homeless                            2.14                     2.26
population in New Orleans, the homeless are often treated
poorly by the NOPD.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
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                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 107 of 135
Page 107 of 135
October 2, 2015
www.consentdecreemonitor.com




                                              SECTION 4

                                  Community Survey Results:
                                 Breakdown across Education




                                 Office of the Consent Decree Monitor
             Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 108 of 135
Page 108 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 4.1.   Citizens’ satisfaction with NOPD officers during most recent interaction—Across education

                                                                Less than college degree              College degree or
                                                                                                           higher

1. I felt that the police officer was trustworthy.                          2.53                           2.84**

2. I had confidence the police officer was following                        2.53                           2.90**
the correct police procedure.

3. I was satisfied with how the police officer                              2.49                           2.90**
behaved.

4. I followed the specific instructions given to me by                      3.19                            3.18
the police officer.

5. The police officer treated me with dignity.                              2.54                           2.96**

6. The police officer treated me with respect.                              2.56                           2.97**

7. The police officer was polite when dealing with                          2.56                           2.94**
me.

8. If I was stopped or questioned, the police officer                       2.53                           2.88**
adequately explained the reasons why. 1

9. The police officer gave me the opportunity to                            2.44                           2.73*
express my view. 1

10. Overall, the police officer did a good job. 1                           2.43                           2.81**

11. I was satisfied with how I was treated by the                           2.46                           2.76*
police officer. 1

12. I was satisfied with the outcome of my                                  2.43                           2.76**
experience with the police. 1
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
1 Question was only asked to those respondents that indicated they had been “stopped and questioned.”

† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 109 of 135
Page 109 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 4.2.    Citizens’ satisfaction with NOPD—Across education

                                                                   Less than college degree            College degree or
                                                                                                            higher

1. While conducting their police duties, NOPD officers                         2.40                         2.64**
follow the law.

2. The level of corruption in the New Orleans Police                           2.23                          2.18
Department is low.

3. I do not fear interacting with New Orleans police                           2.68                         2.84*
officers.

4. There is more police presence in the French Quarter                         3.18                          3.14
than in other areas of the City of New Orleans.

5. I feel the scandals associated with the New Orleans                         2.39                          2.46
Police Department in the past do not reflect the current
practices of the NOPD.

6. Since Hurricane Katrina, the New Orleans Police                             2.18                         2.48**
Department has become a better police department.

7. I am satisfied with the way NOPD officers do their                          2.22                         2.38*
job.

8. NOPD officers respond, when called, in a timely                             1.98                          2.10
manner.

9. When compared to 3 years ago, my neighborhood                               2.31                         2.52**
now has more confidence in the NOPD.

10. Most crimes that take place in New Orleans are not                         2.37                          2.39
solved by the police.

11. Overall, the New Orleans Police Department has little                      2.28                         2.52**
impact on crime in New Orleans.

12. There is a great need for more professionalization in                      1.86                          1.83
the New Orleans Police Department.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.


                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 110 of 135
Page 110 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 4.3.    Citizens’ perceptions of NOPD procedural justice and trustworthiness—Across education

                                                                      Less than college          College degree or higher
                                                                            degree

1. Police officers in New Orleans are, for the most part,                    2.36                           2.62**
honest.
2. Police officers in New Orleans are superior to other                      2.21                           2.20
police departments in terms of integrity.
3. Police officers in New Orleans are fair.                                  2.33                           2.51**
4. Police officers in New Orleans are professional.                          2.33                           2.52**
5. Police officers in New Orleans are not racist or                          2.28                           2.29
biased against minorities.
6. I can count on New Orleans police officers to treat                       2.38                           2.67**
me fairly.
7. New Orleans police officers treat victims of crime                        2.26                           2.42*
very well.
8. Police officers in New Orleans know they have to                          2.89                           2.80
win the confidence of the public to be effective.
9. Police officers in New Orleans treat tourists in the                      2.24                           2.31
same manner they treat citizens of New Orleans.
10. I trust the NOPD.                                                        2.29                           2.50**
11. I have confidence in the NOPD.                                           2.26                           2.47**
12. I respect the NOPD.                                                      2.67                           2.75
13. I feel a moral obligation to obey the law.                               3.24                           3.28
14. The NOPD tries to be fair when making decisions.                         2.41                           2.62**
15. Generally, NOPD officers stop and frisk people for                       2.37                           2.34
legitimate reasons.
16. During routine encounters with members of the                            2.55                           2.70*
public, NOPD officers use appropriate language.
17. For the most part, NOPD officers use language that                       2.49                           2.62*
is not degrading when interacting with citizens.
18. Police officers in New Orleans stop and frisk people                     2.17                           2.57**
as a form of harassment.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.



                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 111 of 135
Page 111 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 4.4.    Citizens’ willingness to cooperate with the NOPD—Across education

                                                                 Less than college degree            College degree or
                                                                                                            higher

1. I would report a dangerous or suspicious activity                         2.79                           3.14**
to the NOPD.

2. If asked, I would help the NOPD find someone who                          2.45                           2.78**
is suspected of having committed a crime.

3. I would not call the NOPD if I witnessed or became                        2.62                           3.08**
aware of a crime.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized
questions are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with
the statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 112 of 135
Page 112 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 4.5.   Citizens’ views regarding how they believe NOPD officers should behave—Across education

                                                          Less than college degree         College degree or higher

1. The NOPD should be accountable for their                           3.44                             3.51
actions.

2. The NOPD should keep the public informed.                          3.34                            3.47*

3. The NOPD should be open and honest when                            3.45                             3.49
dealing with the public.

4. The NOPD should treat people with respect.                         3.53                            3.62†

5. The NOPD should be interested in the well-                         3.42                            3.55*
being of ordinary citizens.

6. Working conditions for police officers in New                      2.39                            2.20**
Orleans are good.

7. To the best of my knowledge, NOPD officers                         2.45                             2.39
have ready access to language interpretation
services to help communicate with those who
does [sic] not speak English.

8. The NOPD has enough Spanish speaking                               2.26                             2.18
officers who can interact with Spanish speaking
suspects.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 113 of 135
Page 113 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 4.6.    Citizens’ perceptions of how NOPD officers treat minorities and other groups—Across education

                                                                       Less than college degree         College degree or higher

1. New Orleans police officers treat members of the                                2.04                          2.20*
African American community fairly.

2. New Orleans police officers treat members of the Latino                         2.29                          2.27
community fairly.

3. New Orleans police officers treat members of the                                2.55                          2.48
Vietnamese community fairly.

4. New Orleans police officers treat members of the                                2.28                          2.34
Lesbian, Gay, Bisexual and Transgender (LGBT)
community fairly.

5. Many victims in New Orleans Latino community fear                               2.86                          2.85
reporting a crime due to fear of deportation.

6. New Orleans police officers often engage in racial                              2.17                          2.22
profiling.

7. The African American community in New Orleans expects                           2.05                          2.15
to be harassed by the NOPD.

8. The African American community in New Orleans does                              2.05                          2.13
not believe the NOPD is credible.

9. There is a great deal of unfairness and bias by the NOPD                        2.00                          2.23**
toward the African American community.

10. The Lesbian, Gay, Bisexual and Transgender (LGBT)                              2.30                          2.40
community does not have confidence in the NOPD.

11. During encounters between the NOPD and the homeless                            2.09                          2.33**
population in New Orleans, the homeless are often treated
poorly by the NOPD.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey questions
range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions are coded in
the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 114 of 135
Page 114 of 135
October 2, 2015
www.consentdecreemonitor.com




                                              SECTION 5

                                Community Survey Results:
                              Breakdown across Marital Status




                                 Office of the Consent Decree Monitor
             Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 115 of 135
Page 115 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 5.1.   Citizens’ satisfaction with NOPD officers during most recent interaction—Across marital status

                                                                          Married2                         Single3

1. I felt that the police officer was trustworthy.                          2.74                            2.61

2. I had confidence the police officer was following                        2.79                           2.62†
the correct police procedure.

3. I was satisfied with how the police officer                              2.81                           2.55**
behaved.

4. I followed the specific instructions given to me by                      3.19                            3.18
the police officer.

5. The police officer treated me with dignity.                              2.87                           2.62*

6. The police officer treated me with respect.                              2.87                           2.64*

7. The police officer was polite when dealing with                          2.89                           2.60**
me.

8. If I was stopped or questioned, the police officer                       2.77                           2.57†
adequately explained the reasons why. 1

9. The police officer gave me the opportunity to                            2.77                           2.40**
express my view. 1

10. Overall, the police officer did a good job. 1                           2.74                           2.44**

11. I was satisfied with how I was treated by the                           2.74                           2.45*
police officer. 1

12. I was satisfied with the outcome of my                                  2.67                           2.47†
experience with the police. 1
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
1 Question was only asked to those respondents that indicated they had been “stopped and questioned.”
2 Includes those who are married or reported having a partner.
3 Includes those who reported being single, divorced, or widowed.

† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 116 of 135
Page 116 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 5.2.    Citizens’ satisfaction with NOPD—Across marital status

                                                                            Married1                        Single2

1. While conducting their police duties, NOPD officers                         2.54                          2.46
follow the law.

2. The level of corruption in the New Orleans Police                           2.13                         2.27†
Department is low.

3. I do not fear interacting with New Orleans police                           2.75                          2.73
officers.

4. There is more police presence in the French Quarter                         3.14                          3.17
than in other areas of the City of New Orleans.

5. I feel the scandals associated with the New Orleans                         2.52                         2.36*
Police Department in the past do not reflect the current
practices of the NOPD.

6. Since Hurricane Katrina, the New Orleans Police                             2.38                         2.24†
Department has become a better police department.

7. I am satisfied with the way NOPD officers do their                          2.33                          2.25
job.

8. NOPD officers respond, when called, in a timely                             2.06                          2.00
manner.

9. When compared to 3 years ago, my neighborhood                               2.46                         2.34†
now has more confidence in the NOPD.

10. Most crimes that take place in New Orleans are not                         2.42                          2.35
solved by the police.

11. Overall, the New Orleans Police Department has little                      2.42                          2.34
impact on crime in New Orleans.

12. There is a great need for more professionalization in                      1.92                         1.80†
the New Orleans Police Department.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
1 Includes those who are married or reported having a partner.
2 Includes those who reported being single, divorced, or widowed.

† p < 0.10; *p < 0.05; ** p < 0.01.


                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 117 of 135
Page 117 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 5.3.    Citizens’ perceptions of NOPD procedural justice and trustworthiness—Across marital status

                                                                           Married1                         Single2

1. Police officers in New Orleans are, for the most part,                    2.56                           2.39*
honest.
2. Police officers in New Orleans are superior to other                      2.29                           2.14*
police departments in terms of integrity.
3. Police officers in New Orleans are fair.                                  2.53                           2.32**
4. Police officers in New Orleans are professional.                          2.50                           2.34*
5. Police officers in New Orleans are not racist or                          2.30                            2.27
biased against minorities.
6. I can count on New Orleans police officers to treat                       2.62                           2.42**
me fairly.
7. New Orleans police officers treat victims of crime                        2.43                           2.26*
very well.
8. Police officers in New Orleans know they have to                          2.78                           2.91†
win the confidence of the public to be effective.
9. Police officers in New Orleans treat tourists in the                      2.36                           2.21*
same manner they treat citizens of New Orleans.
10. I trust the NOPD.                                                        2.49                           2.29*
11. I have confidence in the NOPD.                                           2.43                           2.28*
12. I respect the NOPD.                                                      2.77                            2.67
13. I feel a moral obligation to obey the law.                               3.26                            3.26
14. The NOPD tries to be fair when making decisions.                         2.59                           2.43*
15. Generally, NOPD officers stop and frisk people for                       2.39                            2.35
legitimate reasons.
16. During routine encounters with members of the                            2.64                            2.59
public, NOPD officers use appropriate language.
17. For the most part, NOPD officers use language that                       2.57                            2.53
is not degrading when interacting with citizens.
18. Police officers in New Orleans stop and frisk people                     2.46                           2.23**
as a form of harassment.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
1 Includes those who are married or reported having a partner.
2 Includes those who reported being single, divorced, or widowed.

† p < 0.10; *p < 0.05; ** p < 0.01.


                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 118 of 135
Page 118 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 5.4.    Citizens’ willingness to cooperate with the NOPD—Across marital status

                                                                          Married1                          Single2

1. I would report a dangerous or suspicious activity                         2.92                            2.94
to the NOPD.

2. If asked, I would help the NOPD find someone who                          2.67                           2.53*
is suspected of having committed a crime.

3. I would not call the NOPD if I witnessed or became                        2.90                           2.73*
aware of a crime.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized
questions are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with
the statement).
1 Includes those who are married or reported having a partner.
2 Includes those who reported being single, divorced, or widowed.

† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 119 of 135
Page 119 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 5.5.   Citizens’ views regarding how they believe NOPD officers should behave—Across marital
             status

                                                                   Married1                           Single2

1. The NOPD should be accountable for their                           3.42                             3.50
actions.

2. The NOPD should keep the public informed.                          3.29                            3.46**

3. The NOPD should be open and honest when                            3.39                            3.51*
dealing with the public.

4. The NOPD should treat people with respect.                         3.52                             3.59

5. The NOPD should be interested in the well-                         3.43                             3.50
being of ordinary citizens.

6. Working conditions for police officers in New                      2.31                             2.32
Orleans are good.

7. To the best of my knowledge, NOPD officers                         2.45                             2.40
have ready access to language interpretation
services to help communicate with those who
does [sic] not speak English.

8. The NOPD has enough Spanish speaking                               2.19                             2.23
officers who can interact with Spanish speaking
suspects.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
1 Includes those who are married or reported having a partner.
2 Includes those who reported being single, divorced, or widowed.

† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 120 of 135
Page 120 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 5.6.    Citizens’ perceptions of how NOPD officers treat minorities and other groups—Across marital status

                                                                                Married1                     Single2

1. New Orleans police officers treat members of the                                2.19                       2.05*
African American community fairly.

2. New Orleans police officers treat members of the Latino                         2.34                       2.25
community fairly.

3. New Orleans police officers treat members of the                                2.51                       2.52
Vietnamese community fairly.

4. New Orleans police officers treat members of the                                2.31                       2.30
Lesbian, Gay, Bisexual and Transgender (LGBT)
community fairly.

5. Many victims in New Orleans Latino community fear                               2.75                      2.93**
reporting a crime due to fear of deportation.

6. New Orleans police officers often engage in racial                              2.26                       2.14
profiling.

7. The African American community in New Orleans expects                           2.16                       2.04
to be harassed by the NOPD.

8. The African American community in New Orleans does                              2.15                       2.03†
not believe the NOPD is credible.

9. There is a great deal of unfairness and bias by the NOPD                        2.21                      2.02**
toward the African American community.

10. The Lesbian, Gay, Bisexual and Transgender (LGBT)                              2.42                       2.29†
community does not have confidence in the NOPD.

11. During encounters between the NOPD and the homeless                            2.29                       2.10*
population in New Orleans, the homeless are often treated
poorly by the NOPD.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey questions
range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions are coded in
the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the statement).
1 Includes those who are married or reported having a partner.
2 Includes those who reported being single, divorced, or widowed.

† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 121 of 135
Page 121 of 135
October 2, 2015
www.consentdecreemonitor.com




                                              SECTION 6

                             Community Survey Results:
                       Breakdown across Home Ownership Status




                                 Office of the Consent Decree Monitor
             Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 122 of 135
Page 122 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 6.1.   Citizens’ satisfaction with NOPD officers during most recent interaction—Across home
             ownership status

                                                                       Home owner                          Renter

1. I felt that the police officer was trustworthy.                          2.79                           2.57*

2. I had confidence the police officer was following                        2.81                           2.62*
the correct police procedure.

3. I was satisfied with how the police officer                              2.81                           2.54*
behaved.

4. I followed the specific instructions given to me by                      3.15                            3.21
the police officer.

5. The police officer treated me with dignity.                              2.85                           2.63*

6. The police officer treated me with respect.                              2.87                           2.64*

7. The police officer was polite when dealing with                          2.85                           2.62*
me.

8. If I was stopped or questioned, the police officer                       2.76                            2.60
adequately explained the reasons why. 1

9. The police officer gave me the opportunity to                            2.66                           2.44†
express my view. 1

10. Overall, the police officer did a good job. 1                           2.72                           2.45*

11. I was satisfied with how I was treated by the                           2.70                           2.46*
police officer. 1

12. I was satisfied with the outcome of my                                  2.71                           2.44*
experience with the police. 1
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
1 Question was only asked to those respondents that indicated they had been “stopped and questioned.”

† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 123 of 135
Page 123 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 6.2.    Citizens’ satisfaction with NOPD—Across home ownership status

                                                                          Home owner                        Renter

1. While conducting their police duties, NOPD officers                         2.57                         2.42*
follow the law.

2. The level of corruption in the New Orleans Police                           2.26                          2.19
Department is low.

3. I do not fear interacting with New Orleans police                           2.77                          2.70
officers.

4. There is more police presence in the French Quarter                         3.12                          3.20
than in other areas of the City of New Orleans.

5. I feel the scandals associated with the New Orleans                         2.52                         2.31**
Police Department in the past do not reflect the current
practices of the NOPD.

6. Since Hurricane Katrina, the New Orleans Police                             2.38                         2.22*
Department has become a better police department.

7. I am satisfied with the way NOPD officers do their                          2.39                         2.19**
job.

8. NOPD officers respond, when called, in a timely                             2.13                         1.95*
manner.

9. When compared to 3 years ago, my neighborhood                               2.48                         2.30**
now has more confidence in the NOPD.

10. Most crimes that take place in New Orleans are not                         2.44                          2.36
solved by the police.

11. Overall, the New Orleans Police Department has little                      2.42                          2.32
impact on crime in New Orleans.

12. There is a great need for more professionalization in                      1.91                         1.80†
the New Orleans Police Department.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 124 of 135
Page 124 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 6.3.    Citizens’ perceptions of NOPD procedural justice and trustworthiness—Across home ownership
              status

                                                                        Home owner                          Renter

1. Police officers in New Orleans are, for the most part,                    2.61                           2.33**
honest.
2. Police officers in New Orleans are superior to other                      2.26                            2.16
police departments in terms of integrity.
3. Police officers in New Orleans are fair.                                  2.51                           2.32**
4. Police officers in New Orleans are professional.                          2.50                           2.30**
5. Police officers in New Orleans are not racist or                          2.36                           2.22†
biased against minorities.
6. I can count on New Orleans police officers to treat                       2.62                           2.38**
me fairly.
7. New Orleans police officers treat victims of crime                        2.41                           2.26*
very well.
8. Police officers in New Orleans know they have to                          2.84                            2.85
win the confidence of the public to be effective.
9. Police officers in New Orleans treat tourists in the                      2.35                           2.20*
same manner they treat citizens of New Orleans.
10. I trust the NOPD.                                                        2.51                           2.23**
11. I have confidence in the NOPD.                                           2.48                           2.21**
12. I respect the NOPD.                                                      2.77                            2.65
13. I feel a moral obligation to obey the law.                               3.25                            3.27
14. The NOPD tries to be fair when making decisions.                         2.56                           2.42*
15. Generally, NOPD officers stop and frisk people for                       2.46                           2.26**
legitimate reasons.
16. During routine encounters with members of the                            2.63                            2.58
public, NOPD officers use appropriate language.
17. For the most part, NOPD officers use language that                       2.56                            2.53
is not degrading when interacting with citizens.
18. Police officers in New Orleans stop and frisk people                     2.44                           2.20**
as a form of harassment.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.



                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 125 of 135
Page 125 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 6.4.    Citizens’ willingness to cooperate with the NOPD—Across home ownership status

                                                                        Home owner                          Renter

1. I would report a dangerous or suspicious activity                         3.02                           2.86*
to the NOPD.

2. If asked, I would help the NOPD find someone who                          2.69                           2.46**
is suspected of having committed a crime.

3. I would not call the NOPD if I witnessed or became                        2.90                           2.71**
aware of a crime.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized
questions are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with
the statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 126 of 135
Page 126 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 6.5.   Citizens’ views regarding how they believe NOPD officers should behave—Across home
             ownership status

                                                                 Home owner                           Renter

1. The NOPD should be accountable for their                           3.38                            3.55**
actions.

2. The NOPD should keep the public informed.                          3.32                            3.45*

3. The NOPD should be open and honest when                            3.40                            3.52*
dealing with the public.

4. The NOPD should treat people with respect.                         3.50                            3.65**

5. The NOPD should be interested in the well-                         3.41                            3.55*
being of ordinary citizens.

6. Working conditions for police officers in New                      2.32                             2.28
Orleans are good.

7. To the best of my knowledge, NOPD officers                         2.44                             2.39
have ready access to language interpretation
services to help communicate with those who
does [sic] not speak English.

8. The NOPD has enough Spanish speaking                               2.24                             2.20
officers who can interact with Spanish speaking
suspects.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 127 of 135
Page 127 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 6.6.    Citizens’ perceptions of how NOPD officers treat minorities and other groups—Across home
              ownership status

                                                                              Home owner                     Renter

1. New Orleans police officers treat members of the                                2.19                       2.04*
African American community fairly.

2. New Orleans police officers treat members of the Latino                         2.30                       2.28
community fairly.

3. New Orleans police officers treat members of the                                2.47                       2.55
Vietnamese community fairly.

4. New Orleans police officers treat members of the                                2.35                       2.28
Lesbian, Gay, Bisexual and Transgender (LGBT)
community fairly.

5. Many victims in New Orleans Latino community fear                               2.82                       2.88
reporting a crime due to fear of deportation.

6. New Orleans police officers often engage in racial                              2.29                      2.10**
profiling.

7. The African American community in New Orleans expects                           2.15                       2.00*
to be harassed by the NOPD.

8. The African American community in New Orleans does                              2.11                       2.00†
not believe the NOPD is credible.

9. There is a great deal of unfairness and bias by the NOPD                        2.19                       2.00*
toward the African American community.

10. The Lesbian, Gay, Bisexual and Transgender (LGBT)                              2.44                      2.23**
community does not have confidence in the NOPD.

11. During encounters between the NOPD and the homeless                            2.34                      2.06**
population in New Orleans, the homeless are often treated
poorly by the NOPD.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey questions
range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions are coded in
the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 128 of 135
Page 128 of 135
October 2, 2015
www.consentdecreemonitor.com




                                              SECTION 7

                          Community Survey Results:
                Breakdown across Born in New Orleans (Yes or No)




                                 Office of the Consent Decree Monitor
             Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 129 of 135
Page 129 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 7.1.   Citizens’ satisfaction with NOPD officers during most recent interaction—Across born in New
             Orleans

                                                                             Yes                           No

1. I felt that the police officer was trustworthy.                          2.61                           2.74

2. I had confidence the police officer was following                        2.65                           2.76
the correct police procedure.

3. I was satisfied with how the police officer                              2.63                           2.70
behaved.

4. I followed the specific instructions given to me by                      3.20                           3.17
the police officer.

5. The police officer treated me with dignity.                              2.68                           2.79

6. The police officer treated me with respect.                              2.71                           2.77

7. The police officer was polite when dealing with                          2.68                           2.79
me.

8. If I was stopped or questioned, the police officer                       2.62                           2.70
adequately explained the reasons why. 1

9. The police officer gave me the opportunity to                            2.51                           2.60
express my view. 1

10. Overall, the police officer did a good job. 1                           2.51                           2.65

11. I was satisfied with how I was treated by the                           2.56                           2.57
police officer. 1

12. I was satisfied with the outcome of my                                  2.49                           2.64
experience with the police. 1
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
1 Question was only asked to those respondents that indicated they had been “stopped and questioned.”

† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 130 of 135
Page 130 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 7.2.    Citizens’ satisfaction with NOPD—Across born in New Orleans

                                                                                Yes                          No

1. While conducting their police duties, NOPD officers                         2.43                         2.60**
follow the law.

2. The level of corruption in the New Orleans Police                           2.23                         2.19
Department is low.

3. I do not fear interacting with New Orleans police                           2.73                         2.75
officers.

4. There is more police presence in the French Quarter                         3.20                         3.11
than in other areas of the City of New Orleans.

5. I feel the scandals associated with the New Orleans                         2.42                         2.40
Police Department in the past do not reflect the current
practices of the NOPD.

6. Since Hurricane Katrina, the New Orleans Police                             2.22                         2.45**
Department has become a better police department.

7. I am satisfied with the way NOPD officers do their                          2.24                         2.35
job.

8. NOPD officers respond, when called, in a timely                             1.99                         2.09
manner.

9. When compared to 3 years ago, my neighborhood                               2.35                         2.45
now has more confidence in the NOPD.

10. Most crimes that take place in New Orleans are not                         2.41                          2.33
solved by the police.

11. Overall, the New Orleans Police Department has little                      2.35                          2.42
impact on crime in New Orleans.

12. There is a great need for more professionalization in                      1.88                          1.79
the New Orleans Police Department.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.




                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 131 of 135
Page 131 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 7.3.    Citizens’ perceptions of NOPD procedural justice and trustworthiness—Across born in New
              Orleans

                                                                              Yes                            No

1. Police officers in New Orleans are, for the most part,                    2.39                           2.60**
honest.
2. Police officers in New Orleans are superior to other                      2.22                           2.16
police departments in terms of integrity.
3. Police officers in New Orleans are fair.                                  2.36                           2.49†
4. Police officers in New Orleans are professional.                          2.37                           2.47
5. Police officers in New Orleans are not racist or                          2.29                           2.24
biased against minorities.
6. I can count on New Orleans police officers to treat                       2.44                           2.61*
me fairly.
7. New Orleans police officers treat victims of crime                        2.35                           2.27
very well.
8. Police officers in New Orleans know they have to                          2.84                           2.88
win the confidence of the public to be effective.
9. Police officers in New Orleans treat tourists in the                      2.25                           2.29
same manner they treat citizens of New Orleans.
10. I trust the NOPD.                                                        2.31                           2.46†
11. I have confidence in the NOPD.                                           2.29                           2.43†
12. I respect the NOPD.                                                      2.71                           2.69
13. I feel a moral obligation to obey the law.                               3.28                           3.23
14. The NOPD tries to be fair when making decisions.                         2.46                           2.55
15. Generally, NOPD officers stop and frisk people for                       2.38                           2.33
legitimate reasons.
16. During routine encounters with members of the                            2.56                           2.71*
public, NOPD officers use appropriate language.
17. For the most part, NOPD officers use language that                       2.49                           2.63*
is not degrading when interacting with citizens.
18. Police officers in New Orleans stop and frisk people                     2.25                           2.44**
as a form of harassment.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions
are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with the
statement).
† p < 0.10; *p < 0.05; ** p < 0.01.



                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 132 of 135
Page 132 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 7.4.    Citizens’ willingness to cooperate with the NOPD—Across born in New Orleans

                                                                             Yes                             No

1. I would report a dangerous or suspicious activity                         2.90                           3.01
to the NOPD.

2. If asked, I would help the NOPD find someone who                          2.49                           2.75*
is suspected of having committed a crime.

3. I would not call the NOPD if I witnessed or became                        2.72                           2.96*
aware of a crime.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized
questions are coded in the opposite direction as all other questions (i.e., higher scores indicate more disagreement with
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                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 133 of 135
Page 133 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 7.5.   Citizens’ views regarding how they believe NOPD officers should behave—Across born in
             New Orleans

                                                                       Yes                                 No

1. The NOPD should be accountable for their                           3.42                            3.55*
actions.

2. The NOPD should keep the public informed.                          3.34                            3.50**

3. The NOPD should be open and honest when                            3.43                            3.54*
dealing with the public.

4. The NOPD should treat people with respect.                         3.54                             3.61

5. The NOPD should be interested in the well-                         3.42                            3.56**
being of ordinary citizens.

6. Working conditions for police officers in New                      2.35                             2.24
Orleans are good.

7. To the best of my knowledge, NOPD officers                         2.44                             2.39
have ready access to language interpretation
services to help communicate with those who
does [sic] not speak English.

8. The NOPD has enough Spanish speaking                               2.26                            2.14†
officers who can interact with Spanish speaking
suspects.

Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey
questions range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement.
† p < 0.10; *p < 0.05; ** p < 0.01.




                                         Office of the Consent Decree Monitor
                     Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
   Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 134 of 135
Page 134 of 135
October 2, 2015
www.consentdecreemonitor.com




Table 7.6.    Citizens’ perceptions of how NOPD officers treat minorities and other groups—Across born in New
              Orleans

                                                                                   Yes                         No

1. New Orleans police officers treat members of the                                2.07                       2.17
African American community fairly.

2. New Orleans police officers treat members of the Latino                         2.31                       2.24
community fairly.

3. New Orleans police officers treat members of the                                2.55                       2.48
Vietnamese community fairly.

4. New Orleans police officers treat members of the                                2.28                       2.35
Lesbian, Gay, Bisexual and Transgender (LGBT)
community fairly.

5. Many victims in New Orleans Latino community fear                               2.78                      3.01**
reporting a crime due to fear of deportation.

6. New Orleans police officers often engage in racial                              2.18                       2.21
profiling.

7. The African American community in New Orleans expects                           2.10                       2.07
to be harassed by the NOPD.

8. The African American community in New Orleans does                              2.09                       2.06
not believe the NOPD is credible.

9. There is a great deal of unfairness and bias by the NOPD                        2.06                       2.18
toward the African American community.

10. The Lesbian, Gay, Bisexual and Transgender (LGBT)                              2.37                       2.30
community does not have confidence in the NOPD.

11. During encounters between the NOPD and the homeless                            2.19                       2.15
population in New Orleans, the homeless are often treated
poorly by the NOPD.
Note: Entries are the mean score (average) on each item within the respective demographic subgroup. All survey questions
range in values from 1 to 4. Thus, higher scores indicate more agreement to the statement. Italicized questions are coded in
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                                          Office of the Consent Decree Monitor
                      Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
  Case 2:12-cv-01924-SM-JCW Document 453-1 Filed 10/02/15 Page 135 of 135
Page 135 of 135
October 2, 2015
www.consentdecreemonitor.com




              Appendix 3      N.O.P.D. EDUCATION AND TRAINING DIVISION

                              Consent Decree Performance Metrics

Lesson Plan Measures – Week ending 8/28/15

Milestone status % of Lesson Plans in each major program area:
                           TOTAL           1st DRAFT          IN REVIEW           FINAL DUE COMPLIANCE
                                               DUE
RECRUIT                           123       29 (24%)                 0 (0%)          59 (48%)          35 (28%)
IN-SERVICE                         12          1 (8%)                0 (0%)           6 (50%)           5 (42%)
FTO                                 8         4 (50%)                0 (0%)           2 (25%)           2 (25%)
NEW SUPV/DET                       21         9 (43%)                0 (0%)            2 (9%)          10 (48%)
TOTAL LP’s                        164       43 (26%)                 0 (0%)          69 (42%)          52 (32%)

Milestone status % of Lesson Plans specific to Consent Decree mandate:
                           TOTAL       1st DRAFT              IN REVIEW           FINAL DUE COMPLIANCE
                                           DUE
CD Specific                         59 12 (20%)                      0 (0%)          24 (41%)          23 (39%)




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                 Appointed By Order Of The U.S. District Court For The Eastern District of Louisiana
